         Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 1 of 33




              In the United States Court of Federal Claims
                                                No. 04-10 C
                                        (Filed: February 26, 2010)

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ENERGY NORTHWEST,                                           *
                                                            *        Spent Nuclear Fuel; Standard
                         Plaintiff,                         *        Contract; 1987 Acceptance Capacity
                                                            *        Schedule (ACS); Annual Priority
                                                            *        Ranking (APR); Mitigation; Dry
        v.                                                  *        Storage; ISFSI; GTCC Waste; Full
                                                            *        Core Discharge Capability;
THE UNITED STATES,                                          *        Overhead; Cost of Capital
                                                            *
                         Defendant                          *
                                                            *
***************************************

Norman M. Hirsch, Jenner & Block LLP, Chicago, IL, counsel of record for Plaintiff; of counsel
were William D. Heinz, David Jimenez-Ekman, Christopher Tompkins, and April A. Otterberg,
Jenner & Block LLP, Chicago, and David A. Handzo, Jenner & Block LLP, Washington, DC.

Sharon A. Snyder, Commercial Litigation Branch, Civil Division, United States Department of
Justice, Washington, DC, counsel of record for Defendant, with whom were Alan J. Lo Re,
Assistant Director, and Jeanne E. Davidson, Director, Commercial Litigation Division, and
Michael F. Hertz, Deputy Assistant Attorney, and Tony West, Assistant Attorney General,
United States Department of Justice; of counsel were Jane K. Taylor, Office of General Counsel,
United States Department of Energy, and Joseph E. Ashman, Scott R. Damelin, Jeremiah M.
Luongo, and Sonia M. Orfield, Commercial Litigation Branch, United States Department of
Justice.

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                                                OPINION
                                             _______________

DAMICH, Judge.

       This case is one of a number of cases before the Court of Federal Claims involving
contracts1 between nuclear utilities and the United States Department of Energy (“DOE”) for the
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 “Standard Contract for the Disposal of Spent Nuclear Fuel and/or High-Level Radioactive Waste@ published at 10
C.F.R. ' 961.11.
          Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 2 of 33



disposal of spent nuclear fuel (“SNF”) and/or high-level radioactive waste (“HLW”). Plaintiff,
Energy Northwest, is comprised of 22 public utility districts or municipal utilities spread across
the state of Washington. Stip. ¶ 1.2 On January 7, 2004, Energy Northwest filed suit against
Defendant, the United States (“the Government”) for partial breach of the Standard Contract.
This court has jurisdiction over this matter pursuant to the Tucker Act. 28 U.S.C. § 1491(a)(1);
PSEG Nuclear, L.L.C. v. United States, 465 F.3d 1343, 1344 (Fed. Cir. 2006). On January 30,
2006, the Court granted summary judgment in favor of Plaintiff on the issue of contractual
liability. Thus, the sole issue at trial was the amount of damages, if any, to which Energy
Northwest is entitled due to the Government‟s breach. Order, January 30, 2006; see Maine
Yankee Atomic Power Co. v. United States, 225 F.3d 1336, 1343 (Fed. Cir. 2000).
         Nuclear utilities in these suits cannot recover anticipated future costs attributable to the
Government‟s partial breach of the Standard Contract. Indiana Mich. Power Co. v. United
States, 422 F.3d 1369, 1376 (Fed. Cir. 2005) (holding “a claimant may not recover, at the time of
the first suit for partial breach, prospective damages for anticipated future nonperformance
resulting from the same partial breach” (citations omitted)). Energy Northwest, therefore, seeks
damages in the instant action only for costs incurred through August 31, 2006. Pl.‟s Am. &
Supplemental Compl. 11, Oct. 25, 2006.3 Trial began on February 2 and concluded on February
20, 2009.4




2
  Throughout this opinion, the Court will use the following abbreviations: “JX” for joint exhibits; “PX” for
Plaintiff‟s exhibits; “PDX” for Plaintiff‟s demonstrative exhibits; “DX” for Defendant‟s exhibits (for a specific page
in an exhibit, the page number will be indicated; if it is unclear the last four digits of the Bates number stamped on
the document will be used); “Test. App.” for Plaintiff‟s designated testimony, filed August 29, 2008 (Dkt. No. 169),
admitted January 9, 2009 (Dkt. No. 199); trial transcripts will indicate the page, line number and witness name “Tr.
Page #:line # (Name)”; “Stip.” refers to the parties‟ Joint Stipulations of Fact filed June 30, 2008.
3
  Energy Northwest possesses the right to bring a future suit for damages incurred after August 31, 2006. See
Indiana Mich. Power Co., 422 F.3d at 1377-78.
4
  At trial in this matter, the Court heard from the following witnesses, in order of appearance: Neil D. Zimmerman,
Reactor Maintenance Supervisor, Energy Northwest; Eric R. Bush, Enercon Services, Inc., Energy Northwest‟s
expert regarding spent fuel storage expansion options and issues related to loading of dry storage and transport;
David L. Larkin, Project Manager, ISFSI project; John H. Swailes, Senior Project Manager, Calvert Cliffs Nuclear
Power Plant; Dale K. Atkinson, Vice President, Nuclear Generation & Chief Nuclear Officer, Energy Northwest;
Joseph V. Parrish, Chief Executive Officer, Energy Northwest; Steve Scammon, Project Manager, Energy
Northwest; Lisa Ferek, Fuel & Core Management Lead, Energy Northwest; Eileen M. Supko, Energy Resources
International, Energy Northwest‟s expert regarding the impact of DOE acceptance rates, DOE‟s efforts to develop
SNF transport casks, and the development of storage casks; Jonathan Hicks, Corporate Financial Performance
Supervisor, Energy Northwest; Greg Armatrout, Finance Manager, Energy Northwest; Michael P. Emmert, Energy
Northwest‟s expert on damages and the net present value analysis prepared by the Government‟s expert; John Suing,
the Government‟s witness testifying regarding the cask loading process, incremental labor and other matters; David
Zabransky, Officer of Civilian Radioactive Waste Management, DOE; R. Larry Johnson, Veris Consulting, LLC,
the Government‟s expert regarding the calculation of Energy Northwest‟s damages, accounting issues, adjustments
to damages and the monetization of expert opinions offered; Charles L. Stuart, ABZ, Inc., witness providing
testimony concerning technical and engineering matters relevant to Energy Northwest‟s ISFSI project at Columbia;
and Raymond S. Hartman, Greylock McKinnon Associates, expert witness concerning an economic analysis of
Energy Northwest‟s damages claim.


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          Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 3 of 33



        Energy Northwest‟s total damages claim is $56,859,3455 in mitigation expenses incurred
for dry storage of its SNF, which includes the following specific categories: (1) $594,714 in long
range planning activities; (2) $12,341,868 in Independent Spent Fuel Storage Installation
(“ISFSI”) facility costs; (3) $4,497,034 in plant modifications; (4) $6,719,881 in regulatory,
licensing, program and ancillary equipment; (5) $23,214,330 in dry cask procurement; (6)
$6,694,548 in dry cask loading; and (7) $6,068,909 in financing costs. See PX 752; Tr. 2068:19
to 2071:15 (Emmert).
        In 2008, the United States Court of Appeals for the Federal Circuit issued three opinions
that guide the damages calculation in this case: Pacific Gas & Electric Co. v. United States, 536
F.3d 1282 (Fed. Cir. 2008); Yankee Atomic Electric Co. v. United States, 536 F.3d 1268 (Fed.
Cir. 2008); and Sacramento Municipal Utility District v. United States (“SMUD II”), 293 Fed.
Appx. 766 (Fed. Cir. 2008). Based on these decisions and for the reasons explained below, this
Court awards Energy Northwest $56,859,345 in damages.
    I. Background

        Energy Northwest,6 a municipal corporation and joint operating agency of the State of
Washington, owns and operates the Columbia Generating Station (“Columbia”), a 1150-
megawatt electric boiling water nuclear reactor (“BWR”), located on the southeast corner of the
Hanford Nuclear Reservation outside of Richland, Washington. Tr. 59:24-25; 60:1-3, 21-25;
61:1-3; 63:21-24 (Zimmerman); Tr. 1089-90 (Parrish); Stip. ¶ 4; JX 91. It is comprised of 22
member public utility districts or municipal utilities across the state. Stip. ¶ 1. It received its
operating license from the Nuclear Regulatory Commission (“NRC”) on December 20, 1983;
commercial operations began in December 1984. Tr. 61:4 to 62:14 (Zimmerman); Stip. ¶¶ 5, 6;
JX 91. Columbia is currently licensed to operate through December 20, 2023, and Energy
Northwest plans to apply for a 20-year extension of its license. Tr. 62:20 to 63:6 (Zimmerman);
Stip. ¶ 5; JX 91.
       In a BWR, in the process of nuclear fission within a reactor vessel, atoms of enriched
uranium, U235, are broken, and the splitting nuclei give off energy in the form of heat. Tr. 66:8-
21 (Zimmerman); Stip. ¶ 15. The heat causes water in the reactor vessel to boil, generating
steam. Tr. 64:3-5, 11-21 (Zimmerman). The steam drives a turbine, mechanically powering a
generator to produce electricity. Tr. 64:23; 65:1-11 (Zimmerman). Eventually, the steam
exhaust is condensed and returned to the reactor vessel where the cycle begins again. Tr. 65:5-
17 (Zimmerman).
      The reactor vessel requires fuel. The reactor core at Columbia holds 764 fuel bundles or
“assemblies.” Tr. 67:8-11; 68:13-19 (Zimmerman); Stip. ¶ 15. To make an assembly, uranium

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  The parties stipulated that Energy Northwest incurred $60,131,280 in costs for dry storage. Stip. ¶ 28. Plaintiff‟s
expert Mr. Emmert testified that the amount was $60,131,284. Tr. 2058:18-21 (Emmert). The difference is due to
rounding cents to dollars. See Energy Northwest‟s Post-Tr. Br. at 42 n 7. Plaintiff‟s claim is for $56,859,345, which
reflects its dry storage costs after deducting $3,271,939 in storage costs not attributable to Defendant‟s breach.
6
  In 1998, Washington Public Power Supply System (“WPPSS”) changed its name to Energy Northwest. Other than
its change in name, the company remained the same. Tr. 56:5-11 (Zimmerman); Stip. ¶¶ 1-2. Throughout this
Opinion, Energy Northwest will be used to refer to both WPPSS and Energy Northwest.


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        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 4 of 33



oxide is baked and ground into a pellet. Pellets are stacked inside of metal fuel rods, and the
rods are arranged into bundles held together with tie plates and spacers. Tr. 67:14-25; 68:1-12
(Zimmerman); Stip. ¶ 15. Over time, the uranium becomes depleted, and the assemblies lose
their ability to contribute efficiently to the nuclear chain reaction. Tr. 68:20-25; 69:1-3
(Zimmerman); Stip. ¶ 16. Eventually, the fuel assemblies become “spent” and are discharged
from the core. At that point, they are referred to as spent nuclear fuel (“SNF”). Tr. 70:5-11
(Zimmerman); Stip. ¶ 16; Standard Contract for Disposal of Spent Nuclear Fuel and/or High
Level Radioactive Waste, 10 C.F.R. 961.11, art. I (18) (2009) (“A nuclear reactor must be
periodically refueled and the „spent fuel‟ removed.”).
        Generally, as is the case with Columbia, when SNF is discharged from the reactor core, it
is transferred to a large, stainless-steel lined pool of water called a “spent fuel pool.” Tr. 72:11-
20; 75:1-14 (Zimmerman); Stip. ¶ 17. Water cools the fuel assemblies and provides natural
shielding from the radiation emitted. Tr. 72:11-25; 73:1 (Zimmerman); Stip. ¶ 17. Energy
Northwest‟s spent fuel pool is approximately 40 feet by 34 across and 39 feet deep, lined with
stainless steel, and surrounded on the sides and bottom by a 3-4 foot concrete wall. Tr. 75:5-20
(Zimmerman); Stip. ¶ 19. It is unlikely the pool itself could be enlarged, given the concrete
surroundings. Tr. 76:11-16 (Zimmerman).
       A. History of the SNF Program

         On April 7, 1977, President Carter banned all commercial nuclear fuel reprocessing in the
United States. Tr. 373:1-5 (Larkin). In response to the President‟s ban, and to assist nuclear
power companies, Congress passed the Nuclear Waste Policy Act (ANWPA@), 42 U.S.C. §§
10101-10270 (1982), on January 7, 1983. Tr. 373:13-17 (Larkin); Stip. ¶ 7. The NWPA
provided the U.S. Department of Energy (“DOE”) with authority “to enter into contracts with
any person who generates or holds title to [HLW] or [SNF] of domestic origin for the acceptance
of title, subsequent transportation, and disposal of such waste or spent fuel.@ 42 U.S.C. §
10222(a)(1). DOE drafted the Standard Contract, requiring the Government to accept, transport,
store, and dispose of SNF and high level waste (“HLW”); in return, Agenerators and owners@
thereof would be responsible for the costs. Id. § 10131(b)(4). On February 4, 1983, DOE issued
its proposed rulemaking notice in the Federal Register. The notice included the proposed
language of the Standard Contract for spent nuclear fuel. 48 Fed. Reg. 5458 (Feb. 4, 1983); Tr.
376:13-24 (Larkin); PX 24; Stip. ¶ 8. DOE published the Standard Contract as a final rule on
April 18, 1983. 48 Fed. Reg. 16,590 (Apr. 18, 1983); Stip ¶ 10.
       B. The Standard Contract

       A failure to sign the Standard Contract would have had significant implications for
nuclear utility companies. Specifically, the NWPA required utility companies to sign the
Standard Contract or to be engaged in serious negotiations by June 30, 1983; otherwise, the
Nuclear Regulatory Commission (“NRC”) could not issue or renew an operating license. Tr.
62:12-14 (Zimmerman); 374:7-15 (Larkin); Indiana Mich. Power Co., 422 F.3d at 1372
(“Nuclear plant operators and utilities were mandated by Congress to enter into Standard
Contracts, the terms of which are presented at 10 C.F.R. § 961.11, as a prerequisite to obtaining
renewal of their operating licenses.” (citing 42 U.S.C. § 10222(a)(1); Maine Yankee Atomic


                                                  4
            Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 5 of 33



Power Co., 225 F.3d at 1337 (“The [NWPA] effectively made entry into such contracts
mandatory for the utilities . . . .”))).
        When NWPA was enacted, Columbia was still under construction, and had a construction
license but lacked an operating license. Tr. 374:16-22 (Larkin). If Energy Northwest wanted to
obtain a license that would allow the use of the newly constructed facility, the company had no
choice but to sign the Standard Contract. Tr. 380:22-25; 381:1-5 (Larkin); PX 32. Energy
Northwest executed the contract with DOE on June 13, 1983; it contained the same material
terms and conditions as published in the Federal Register. Tr. 381:6-8 (Larkin); Stip. ¶ 11. After
signing the contract, Columbia received a 40-year operating license7 from the NRC in 1983 and
began commercial operations on December 13, 1984. Tr. 61:4-11; 62:5-11, 15-16, 24-25; 63:1-3
(Zimmerman); Stip. ¶¶ 5-6.
         The Standard Contract concerns delivery “to DOE of SNF and/or HLW of domestic
origin from civilian nuclear power reactors, acceptance of title by DOE to such SNF and/or
HLW, subsequent transportation, and disposal of such SNF and/or HLW and, with respect to
such material, establishes the fees to be paid by Purchaser for the services to be rendered
hereunder by DOE.” Standard Contract, art. II; see also JX-1; Tr. 2297:23-25; 2298:1-8
(Zabransky). The SNF delivery process was supposed to begin “not later than January 31,
1998.” Standard Contract, art. II. The Standard Contract obligated DOE to “issue an annual
acceptance priority ranking [„APR‟] for receipt of SNF and/or HLW at the … repository”
starting on April 1, 1991. Standard Contract, art. IV(B)(5)(a). The APR lists all spent fuel
discharges according to the date of discharge, ranking the oldest fuel first on the list. Tr.
2298:23-25; 2299:1-17; 2300:3-16 (Zabransky). This order of acceptance is known as Oldest
Fuel First (“OFF”) priority ranking. Tr. 2300:3-16 (Zabransky). Because the Standard Contract
lacked a stated acceptance rate, DOE was to issue an annual capacity report (“ACR”) for
planning purposes “not later than July 1, 1987.” Standard Contract, art. IV(B)(5)(b). The ACR
was to “set forth the projected annual receiving capacity for the DOE . . . and the annual
acceptance ranking . . . for ten (10) years following the projected commencement of operation of
the initial DOE facility.” Id. Using the OFF ranking, the ACR allocated what portion, if any, of
DOE‟s finite acceptance capacity would be available to a purchaser in a given year. Tr. 2298:23-
25; 2299:1-25; 2300:1-2 (Zabransky). In essence, the APR set the ranking and divided this
ranking into annual increments.8 Tr: 2613:9-13 (Zabransky). The Standard Contract established
a system whereby the delivery of SNF to DOE would proceed according to a Delivery
Commitment Schedule (“DCS”). Standard Contract, art. V; Tr. 2298:23-25; 2299:1-25; 2300:1-
2 (Zabransky). After DOE issued its proposed APR, “the Purchaser shall submit to DOE the
delivery commitment schedule(s) which shall identify all SNF and/or HLW the Purchaser wishes

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  After 40 years, Columbia hopes to obtain a 20-year license extension from the NRC, which will allow the plant to
remain in business until 2043. Tr. 62:17-23; 63:4-9, 19 (Zimmerman).
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    According to the Federal Circuit:

           In lieu of a firm rate for SNF/HLW acceptance and disposal, the Standard Contract required DOE
           to issue annual capacity reports (ACRs) . . . . In addition to the annual reports, the Standard
           Contract also required DOE to issue annual acceptance priority rankings . . . . This court refers to
           this entire process as the acceptance capacity schedule or ACS process.

Pac. Gas & Elec. Co., 536 F.3d at 1285-86.

                                                            5
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 6 of 33



to deliver to DOE beginning sixty-three (63) months thereafter.” Standard Contract, art.
V(B)(1). DOE would have three months to approve or disapprove the DCS. Standard Contract,
art. V(B)(1). For the delivery of SNF covered by a DCS, the Purchaser was then required to
submit “final delivery schedules not less than twelve (12) months prior to the delivery date
specified therein.” Standard Contract, art. V(C).
        According to the Standard Contract, “all costs associated with the preparation,
transportation, and the disposal of spent nuclear fuel and high-level radioactive waste from
civilian nuclear power reactors shall be borne by the owners and generators of such fuel and
waste ….” Standard Contract, pmbl. The Standard Contract establishes a specific methodology
for paying fees to the Nuclear Waste Fund. Standard Contract, art. VIII. Through March 31,
2008, Energy Northwest has paid $150,563,399.72 into the Nuclear Waste Fund under the
Standard Contract quarterly payment provision. Stip. ¶ 13.
       C. DOE‟s Breach of the Standard Contract

       Although Energy Northwest paid the fees required by the Standard Contract, DOE did
not accept SNF and/or HLW by January 31, 1998. To date, DOE has failed to accept SNF from
Energy Northwest or any other utility. See Maine Yankee Atomic Power Co., 225 F.3d at 1338.
Moreover, that DOE would not fulfill its obligations as required by the Standard Contract
became apparent well in advance of January 1998. In its 1987 Mission Plan Amendment, DOE
announced that it expected that there would be a slippage in the operating date for the repository.
JX-13; Tr. 390:18-25; 391:1-6 (Larkin). Specifically, it stated, “The new schedule shows a five-
year extension of the date for waste acceptance at the first repository, from 1998 to 2003.” JX 13
(#1912); see also Tr. 393:1-12 (Larkin). The document also suggested that DOE could begin to
accept waste in 1998 at a Monitored Retrievable Storage (“MRS”) facility; however, no MRS
has been constructed. JX 13; see also Tr. 393:13-25; 394:1-3 (Larkin).
        DOE formally announced that it would not perform by January 1998 in a Notice of
Inquiry issued on May 25, 1994. DOE‟s Office of Civilian Radioactive Waste Management
(“OCRWM”) advised the utilities that it “currently projects that the earliest possible date for
acceptance of [SNF] for disposal . . . is 2010.” 59 Fed. Reg. 27,007-02 (May 25, 1994); Tr.
431:1-25; 432:1-15 (Larkin); PX 205. The following year, the same office promulgated a “final
interpretation of nuclear waste acceptance issues,” in which it advised that it “has become
apparent that neither a repository nor an interim storage facility constructed under the Act will be
available by 1998. DOE currently projects that the earliest possible date for acceptance of waste
for disposal at a repository is 2010.” 60 Fed. Reg. 21,793-02, 21,794 (May 3, 1995); Tr. 433:10-
25; 434:1-25; 435:1-3 (Larkin); PX 225. In Indiana Michigan, the Federal Circuit stated, “It is
beyond debate that because the government unequivocally announced in 1994 that it would not
meet its contractual obligations beginning in 1998, the utilities were in fact obligated to take
mitigatory steps.” Indiana Mich. Power Co., 422 F.3d at 1375. The Federal Circuit elaborated
on this observation in Yankee Atomic:
       This statement . . . does not set 1994 as the earliest possible date for any duty to
       mitigate. Rather, this passage reveals that this court in Indiana Michigan viewed
       1994 as the latest possible date for the utilities‟ duty to mitigate . . . . [T]his court
       recognizes that no one could reasonably dispute that a duty to mitigate existed in


                                                  6
          Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 7 of 33



        1994. This statement, however, is not a ruling that the duty to mitigate did not
        arise until 1994, but instead suggests that the duty could have arisen earlier.
Yankee Atomic Elec. Co., 536 F.3d at 1275.
        D. SNF Storage at the Columbia Generating Station

        Originally, Columbia was designed to have a spent fuel pool with a storage capacity of
1,020 fuel assemblies. Tr. 372:1-4 (Larkin); JX 91; Stip. ¶ 20. In light of President Carter‟s ban
on fuel reprocessing, Energy Northwest re-racked the pool to increase its capacity prior to the
commencement of commercial operations. Tr. 372:5-25; 373: 1-12 (Larkin); Stip. ¶ 20. As a
result of the re-rack, Columbia‟s pool has space for 2,658 fuel assemblies, 2,6549 of which are
accessible for SNF. Tr. 77: 16-25; 78:1 -9 (Zimmerman); Tr. 370:24-25; 371:1-2 (Larkin); Stip.
¶ 19. Until 2002, all of Columbia‟s SNF was stored in the spent fuel pool. Stip. ¶ 22. At
Columbia, fuel assemblies spend about six years in the core before they are discharged. Tr.
68:23-25; 69:1 (Zimmerman). Beginning in 1986, a portion of the assemblies was replaced each
year. Tr. 69:8-25; 70:1-4 (Zimmerman); Stip. ¶ 21. In 1999, Columbia transitioned from annual
refueling “outages” and replacements to refueling outages of approximately one third of the
assemblies every two years. Tr. 69:2-25; 70:1-4 (Zimmerman); Stip. ¶ 21.
        Having closely monitored DOE‟s program for SNF acceptance, David L. Larkin, Energy
Northwest‟s technical representative on the DOE spent fuel project, provided briefings to the
company‟s Executive Board in 1987 and 1988 indicating skepticism of the prospects for on-time
performance by DOE. Tr. 402:14 to 418:12 (Larkin); PX 105; JX 18. Energy Northwest was
concerned about the prospect of its spent fuel pool filling up by 2003, leading to plant shutdown
in 2005. Tr. 458:11 to 459:2; 795:10-21 (Larkin); Tr. 1009:24 to 1011:5 (Atkinson). In 1991,
Mr. Larkin prepared a white-paper addressing storage options of re-racking, consolidating fuel
rods from SNF assemblies, and dry cask storage. Tr. 424:20 to 426:8 (Larkin). In 1995, he
submitted a report (the “1995 Larkin Study”) to senior management advising that, based on DOE
acceptance rate projections as well as its projection that an SNF repository would not be
completed until 2010, DOE‟s prospective breach meant SNF would be picked up from Energy
Northwest in the year 2026 at the earliest. Tr. 438:10-20; 780:10 to 782:7 (Larkin); JX 51. In
that study, he recommended the pursuit of dry cask storage. Tr. 439:11-18; 445:5 to 446:18;
449:9 to 450:7 (Larkin). The 1995 Larkin Study led Energy Northwest senior management to
begin steps to implement dry cask storage. Re-racking was not preferred because it would not
provide SNF storage over the plant‟s operating life, but rather only about 10 to 12 years of
additional storage capacity, and would only postpone the necessity of dry cask storage. Tr. 444:6
to 446:13 (Larkin). Initial bids for dry cask storage, however, were not “financially assured.”
Tr. 454:10-19 (Larkin). Consequently, in early 1998, Energy Northwest reinvestigated the
potential cost-savings of re-racking. Tr. 452:19-25 (Larkin). Mr. Larkin concluded again,
however, that re-racking followed by dry cask storage was more expensive than proceeding
directly to dry storage. Tr. 467:17-21 (Larkin).

      On July 30, 1999, Energy Northwest entered into a contract for a dry cask storage system
with Holtec International, a consulting firm that specializes in SNF storage. Tr. 164:19-24
9
 Four cells were blocked when testing revealed that they were too small and exhibited high friction. Tr. 78:2-9
(Zimmerman); 371:3-9 (Larkin).

                                                         7
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 8 of 33



(Bush); Stip. ¶ 23. Under this system, SNF is removed from the spent fuel pool and eventually
stored in dry storage casks that can hold 68 fuel assemblies. Tr. 82:18-20; 86:2-19
(Zimmerman); Stip. ¶ 26. Engineering and design work for the dry cask storage began in July
2000. Tr. 1178-80; 1182-84 (Scammon). Plant modifications and ISFSI construction began in
the fall of 2001 and were concluded in the summer of 2002. Stip. ¶¶ 24-25; Tr. 1206-07
(Scammon). In September 2002, the NRC provided notice that Energy Northwest had met the
regulatory requirements for dry cask storage. PX 450; Tr. 83-84 (Zimmerman), 524-25 (Larkin),
1208 (Scammon). That year, the company offloaded five casks of 340 SNF assemblies from its
spent fuel pool. Then, in 2004, it offloaded another ten casks with 680 SNF assemblies. Tr.
82:8-25 (Zimmerman); Stip. ¶ 27. As of August 31, 2006, Energy Northwest had completed two
SNF loading campaigns, loading a total of 15 casks holding 1,020 fuel assemblies and
transporting them to the Columbia ISFSI. Stip. ¶ 27.

        The parties have stipulated that Plaintiff actually incurred $60,131,280 in costs between
July 1, 1994, and August 31, 2006 and that those costs are “traceable to and supported by Energy
Northwest‟s accounting records.” Stip. ¶ 28. Plaintiff deducted $3,271,939 in costs for a rack
expansion that its expert, Michael P. Emmert, testified would have been undertaken in the non-
breach world. Tr. 2061:19-23 (Emmert); Pl.‟s Mem. of Contentions of Fact and Law at 34.
Even so, the Government contests Energy Northwest‟s legal entitlement to recover on its claim
on grounds of lack of causation and/or reasonableness and that certain damages are not
recoverable as a matter of law. Alternatively, it seeks various offsets to Plaintiff‟s damages for
costs Plaintiff would have incurred in the non-breach world. See Stip. ¶ 29.

   II. Standards for Decision

       A. Mitigation Damages

        Energy Northwest seeks damages in recovery of expenses it incurred in mitigation of the
Government‟s breach of performance. The recoverability of these expenses logically follows
from the duty of a non-breaching party to mitigate. “Once a party has reason to know that
performance by the other party will not be forthcoming . . . he is expected to take such
affirmative steps as are appropriate in the circumstances to avoid loss by making substitute
arrangements or otherwise.” Restatement (Second) of Contracts § 350 cmt. b (1981). See also
Sys. Fuels, Inc. v. United States, 79 Fed. Cl. 37, 51-52 (2007) (“If one party to a contract
provides notice that it does not intend to perform under the contract, the other, non-breaching
party acquires an obligation to mitigate, i.e., to take steps to avoid further losses or damage
stemming from the breach.”). The principle that mitigation damages are recoverable extends to
cases, such as the instant one, involving a partial breach. Indiana Mich. Power Co., 422 F.3d at
1375 (“We see no reason why efforts to avoid damages in contemplation of a partial breach
should not also be recoverable.”). “Mitigation is appropriate where a reasonable person, in light
of the known facts and circumstances, would have taken steps to avoid damage.” Id. at 1375.
       “The remedy for breach of contract is damages sufficient to place the injured party in as
good a position as it would have been had the breaching party fully performed.” Indiana Mich.
Power Co., 422 F.3d at 1373 (citing San Carlos Irrigation & Drainage Dist. v. United States,
111 F.3d 1557, 1562 (Fed. Cir. 1997)). Accordingly, the non-breaching party must provide this
Court with “record evidence about [its] condition with full Government performance, [or] the

                                                8
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 9 of 33



Court of Federal Claims [cannot] perform the necessary comparison between the breach and
non-breach worlds and thus [cannot] accurately assess the [] damages.” Yankee Atomic Elec. Co.,
536 F.3d at 1273. More specifically, the non-breaching party must prove that its damages were
both foreseeable and caused by the breach and must demonstrate the amount of its damages with
reasonably certainty. Indiana Mich. Power Co., 422 F.3d at 1373 (citing Energy Capital Corp.
v. United States, 302 F.3d 1314, 1320 (Fed. Cir. 2002)). The three elements of foreseeability,
causation, and reasonable certainty are as applicable to mitigation damage claims as to general
damage claims. Id. at 1376 (“The presence of a duty to mitigate does not perforce make the pre-
breach costs incurred by [the utility] to store its SNF recompensable; appellant must prove
foreseeability, causation, and reasonableness.”).
               1. Foreseeability

        “Foreseeability is a question of fact . . . .” Bluebonnet Sav. Bank, F.S.B. v. United States,
266 F.3d 1348, 1355 (Fed. Cir. 2001). Foreseeability is determined at the time the contract was
executed. See Indiana Mich. Power Co., 422 F.3d at 1373; Bohac v. Dep’t of Agric., 239 F.3d
1334, 1340 (Fed. Cir. 2001); Prudential Ins. Co. v. United States, 801 F.2d 1295, 1300 (Fed. Cir.
1986); N. Helex Co. v. United States, 524 F.2d 707, 714 (Ct. Cl. 1975). The non-breaching party
must demonstrate that both the magnitude and type of damages or injury were foreseeable at the
time of contract formation. See Landmark Land Co. v. FDIC, 256 F.3d 1365, 1378 (Fed. Cir.
2001); Wells Fargo Bank v. United States, 88 F.3d 1012, 1023-24 (Fed. Cir. 1996). However,
the non-breaching party need not demonstrate that a particular means of responding to the breach
was foreseeable. “The law does not require that the specific method of mitigation be
foreseeable. Rather, the forseeability prong applies to the type of loss, not to the means of
mitigation.” SMUD II, 293 Fed. Appx. At 771); see also Citizens Fed. Bank v. United States, 474
F.3d 1314, 1321 (Fed. Cir. 2007) (citing Joseph M. Perillo, 11 Corbin on Contracts Sec. 56.7 at
108 (“What is required is merely that the injury actually suffered must be one of a kind that the
defendant had reason to foresee and of an amount that is not beyond the bounds of reasonable
prediction.”)); S. Nuclear Operating Co. v. United States, 77 Fed. Cl. 396, 405 (2007) (“While
the general response to a breach must be foreseen, the particular way that a mitigating decision is
implemented need not.”).

               2. Causation

        Causation, like foreseeability, is a question of fact. Bluebonnet Sav. Bank, F.S.B., 266
F.3d at 1356. There are two potential standards by which this Court may determine causation,
the “but for” test and the “substantial factor” test. In the “but for” test, the breaching party is
liable for those damages that it directly and entirely caused. See Citizens Fed. Bank v. United
States, 474 F.3d 1314, 1318 (Fed. Cir. 2007). In the “substantial factor” test, the breaching
party is liable for those damages for which the breach was a substantial causal factor. Indiana
Mich. Power Co., 422 F.3d at 1373 (citing Energy Capital, 302 F.3d at 1320). This Court has
discretion to select an appropriate causation standard. Citizens Fed. Bank, 474 F.3d at 1318
Although in Indiana Michigan the Federal Circuit upheld the trial court‟s decision to apply the
“substantial factor” standard of causation, in a more recent spent nuclear fuel decision, the
Federal Circuit has described the more traditional “but for” causation test as “preferred” over the
“substantial factor” test. Yankee Atomic Elec. Co., 536 F.3d at 1272-73. Accordingly, out of an
abundance of caution, in this specific spent nuclear fuel case, the Court employs the “but for”

                                                 9
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 10 of 33



test herein. Therefore, the non-breaching party “must show that but for the breach, the damages
alleged would not have been suffered.” San Carlos Irrigation & Drainage Dist., 111 F.3d at
1563 (citing Standard Havens Prod., Inc. v. Gencor Indus., Inc., 953 F.2d 1360, 1374 (Fed. Cir.
1991)).

               3. Reasonable Certainty

         Finally, reasonable certainty is also a question of fact. Bluebonnet Sav. Bank, F.S.B., 266
F.3d at 1356-58. The standard is well-established: “[c]ertainty is sufficient if the evidence
adduced enables the court to make a fair and reasonable approximation of the damages.” Locke
v. United States, 283 F.2d 521, 524 (Ct. Cl. 1960). “[W]here responsibility for damages is clear,
it is not essential that the amount thereof be ascertainable with absolute exactness or
mathematical precision . . . .” San Carlos Irrigation & Drainage Dist., 111 F.3d at 1563 (citing
Electronic & Missile Facilities, Inc. v. United States, 416 F.2d 1345, 1358 (Ct. Cl. 1969); see
also Indiana Mich. Power Co., 422 F.3d at 1373. Proof need only support a fair and reasonable
approximation of its damages. See, e.g., Energy Capital Corp. v. United States, 302 F.3d at
1329; Hughes Commc’n Galaxy, Inc. v. United States, 271 F.3d 1060, 1067-68 (Fed. Cir. 2001);
Ace-Fed. Reporters, Inc. v. Barram, 226 F.3d 1329, 1333 (Fed. Cir. 2000); Locke, 283 F.2d at
524. However, recovery for speculative damages is precluded. San Carlos Irrigation &
Drainage Dist., 111 F.3d at 1563 (citation omitted); see also Indiana Mich. Power Co., 422 F.3d
at 1373.

       B. Reasonableness and Offsets to Plaintiff‟s Claim

        A breaching party, in an effort to reduce the damages, may establish that the non-
breaching party‟s mitigation efforts or particular claimed costs were not reasonable. See
Restatement (Second) of Contracts § 350(2) (1981); Sacramento Mun. Util. Dist. v. United States
(“SMUD I”), 70 Fed. Cl. 332, 367 (2006); Tenn. Valley Auth. v. United States, 69 Fed. Cl. 515,
528 (2006). The non-breaching party, however, is not obligated to prove that it made the best
choice in mitigation. Citizens Fed. Bank v. United States, 66 Fed. Cl. 179, 185 (2005), aff’d, 474
F.3d 1314 (Fed. Cir. 2007) (“Monday-morning quarterbacking is irrelevant to an award of
mitigation costs.”); see also In re Kellett Aircraft Corp., 186 F.2d 197, 198 (3d Cir. 1950)
(“Where a choice has been required between two reasonable courses, the person whose wrong
forced the choice cannot complain that one rather than the other was chosen.”). In addition, the
breaching party may establish that, as a result of the breach, the non-breaching party received a
benefit by avoiding certain costs, thereby requiring that the non-breaching party‟s claimed
damages be correspondingly reduced by the gain. See Bluebonnet Sav. Bank, F.S.B. v. United
States, 339 F.3d 1341, 1345 (Fed. Cir. 2003) (“[T]he non-breaching party should not be placed in
a better position through the award of damages than if there had been no breach.” (citing White v.
Delta Constr. Int’l, Inc., 285 F.3d 1040, 1043 (Fed. Cir. 2002)).
       C. Acceptance Rate

        The Federal Circuit has held that “the 1987 report is an ACS report that contemplated full
and timely performance. Thus, this report presents the most reasonable measure of the
contractual acceptance rate.” Pac. Gas & Elec. Co., 536 F.3d at 1292. The Federal Circuit also
definitively rejected the 1991 ACS process because it “does not reflect the parties‟ intent

                                                10
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 11 of 33



regarding the contractual acceptance rate.” Id. at 1291. Based on these decisions, this Court is
bound to use the acceptance rates in the 1987 ACR.
   III. Discussion

         Plaintiff argues that, had DOE begun acceptance of SNF from the nuclear utilities as
provided under the Standard Contract, it would not have needed to implement dry storage.
Instead, to the extent it would have needed additional storage beyond the existing capacity of its
spent fuel pool, it “had lower-cost alternatives available to address its storage needs (if any),
which would have provided more than enough capacity” in the non-breach world. Pl.‟s Mem. of
Contentions of Fact and Law at 31. Its alternatives included either a temporary or even a full re-
rack. Id. at 32. The reason it rejected the re-rack option in lieu of dry storage was that “it was
clear that DOE‟s lengthy delay would eventually require implementing dry cask storage even
after a re-rack.” Id. As Mr. Emmert, elaborated at trial, “I concluded . . . in the nonbreach world
that a rerack of the Columbia fuel pool would have resulted in excess capacity and wasted capital
investment.” Tr. 1923:2-9 (Emmert).

        The Government argues that its failure to begin acceptance of SNF under the Standard
Contract did not cause Plaintiff‟s anticipated loss of sufficient SNF storage space in its spent fuel
pool; that DOE acceptance of Greater-than-Class-C (“GTCC”) waste concurrently with SNF
would have had a delaying impact on Plaintiff‟s priority ranking acceptance schedule; that
Plaintiff‟s implementation of dry storage was unreasonable as a mitigation measure because
Plaintiff would have instead purchased a temporary rack in order to maintain full core discharge
capability (“FCDC”); that certain costs in the non-breach world would have been incurred and
should be applied to offset any damages recovery; and that various other elements of Plaintiff‟s
damages claim are not recoverable.

       In addition, the Government argues that Plaintiff failed to establish its claimed damages
with reasonable certainty, because certain costs included in its claim were reimbursed to Energy
Northwest by the Bonneville Power Administration and as such were not offset within Plaintiff‟s
claim. “Because the Court cannot determine how much of ENW‟s claimed costs have already
been reimbursed by another entity, the Court should deny plaintiff‟s claim in its entirety because
ENW failed to meet its burden of proof at trial.” Def.‟s Post-Trial Br. at 11.

       Plaintiff’s Need to Resort to Dry Storage Was Foreseeable.

       On the one hand, Defendant does not seriously contest the foreseeability of Plaintiff‟s
need to seek dry storage due to the Government‟s failure to accept SNF under the Standard
Contract. In its post-trial briefs, Defendant extensively contests causation, reasonable certainty,
and the reasonableness of Plaintiff‟s actions in mitigation, but does little more than recite the
precedents that establish Plaintiff‟s legal obligation to prove foreseeability. Def.‟s Post-Trial Br.
at 8.

       On the other hand, Plaintiff makes at least two persuasive arguments to prove the
foreseeability of constructing a dry storage facility.



                                                 11
         Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 12 of 33



         First, Plaintiff‟s designated deposition testimony and exhibits provide extensive evidence
that one of the objectives of the NWPA and the Standard Contract was to ensure that the nuclear
utilities would not need to build additional at-reactor storage after 1998, whether dry or wet. PX
55; JX 6; PX 60; Test. App. 135-36, 170 (Lake Barrett); Test. App. 271, 300, 316, 321 (Alan
Brownstein); Test. App. 537-38, 562, 565-66, 576, 580 (Michael Lawrence); Test. App. 709-10,
712 (Robert Morgan); Test. App. 778 (DOE Rule 30(b)(6) witness); Test. App. 893-94, 898,
903, 907-08, 918-19 (Ben Rusche); Test. App. 962, 970, 975-77, 980-81, 983 (Victor Trebules).
As Robert Morgan, the acting director of the DOE program, advised attendees at an industry
conference in December 1983,

                  Beginning in 1998, utilities will not have to provide any additional
                  storage facilities on site. During the first year of operation of the
                  repository in 1998, we should be receiving fuel at a rate so that no
                  utility would have to add any further storage facilities either on site
                  or at another location.

JX 6 (emphasis added).

        Second, in SMUD II, the appellate court‟s determination of foreseeability essentially
instructs the outcome here. There, the Federal Circuit had no problem with the trial court‟s
determination that the construction of a dry storage facility was foreseeable. However, it
reversed the trail court‟s determination that the use of dual-purpose dry storage canisters was not
foreseeable on the grounds that the specific method of mitigation need not have been foreseen
but rather merely the type of loss.10 SMUD II, 293 Fed. Appx. at 771. If dry storage and dual-
purpose canisters for dry storage were foreseeable in SMUD, Energy Northwest‟s comparable
method of mitigation, an ISFSI with dual-purpose canisters, was similarly foreseeable.

       Therefore, on the issue of the foreseeability of constructing a dry storage facility, Plaintiff
has met its burden of proof.

         DOE’s breach caused Energy Northwest to incur dry storage expenses.

        As early as 1987, Energy Northwest was concerned that DOE would not be able to meet
its obligation to begin acceptance of SNF beginning in January 1998. PX 105; Tr. 402:14 to
418:12 (Larkin). Even with timely acceptance by DOE, Mr. Larkin advised the Energy
Northwest Executive Board that, based on the 1987 ACR, “[a]cceptance of spent fuel from
[Columbia] is currently scheduled for the eighth year after commencement” of acceptance
generally. Tr. 404:17-23 (Larkin). He further advised that, because at that point DOE didn‟t
expect a repository in operation until 2003, approximately five years after the 1998 start of
acceptance, it was more likely that Energy Northwest‟s acceptance would not begin at least until
2010. Tr. 405:8-17 (Larkin).


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  In addition to foreseeability, the trial court also concluded that “SMUD‟s decision to utilize „dual purpose‟ dry
storage was unreasonable.” SMUD I, 74 Fed. Cl. at 730 (citations omitted). After observing that this conclusion
was made “without elaboration,” the Federal Circuit stated: “This court also reverses that unsubstantiated finding.”
SMUD II, 293 Fed. Appx. At 772.

                                                         12
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 13 of 33



       In a briefing to the Executive Board in 1988, he advised that Columbia‟s first SNF
shipment was not scheduled until 2011, with additional delay even more likely. Tr. 411:14 to
415:21 (Larkin). In the 1995 Larkin Study, he updated his projection, noting that “[a]bsent
fundamental changes DOE will most likely not remove any spent fuel from [Columbia] prior to
the end of the operating license” in 2026. JX 51; Tr. 437:20 to 438:20; 780:10 to 781:23
(Larkin).
        In 1999, Joseph V. Parrish, Chief Executive Officer of Energy Northwest, formally
requested that the Executive Board approve a contract, with Holtec International, for the
implementation of a dry storage system because of DOE‟s indefinite delay in beginning SNF
acceptance. Tr. 1112:19 to 1114:5 (Parrish); JX 73. Mr. Parrish noted that the ability to offload
spent fuel from the reactor core would be completely lost at Columbia after the planned 2003
outage without resort to a dry cask storage system. JX 73. Mr. Emmert, designated as Plaintiff‟s
expert witness on accounting, financial issues, net present value analyses, and damages
evaluation, testified that, if Energy Northwest had done nothing to expand its storage capacity,
by 2005, “the plant would have to shut down because it wouldn‟t be able to off-load any more
spent fuel.” Tr. 1984:8-14 (Emmert). Mr. Emmert‟s analysis of the capacity of SNF in the fuel
pool, as demonstrated in PX 602B, indicates that in 2005, absent DOE‟s timely SNF acceptance,
Energy Northwest would have had to accommodate more discharged spent fuel assemblies than
it had storage space in its pool. Such a scenario would have necessarily required the shut-down
of the plant. PX 602B.

              Q.       The final column is amount over available capacity. What
              is reflected in that column?

              A.      If there were a number in that column, that would mean the
              fuel pool is full. The company would need to make another
              discharge to continue to operate the plant, but wouldn‟t be able to
              do that and would have to shut down the plant.

Tr. 1935:23 to 1936:6 (Emmert).

       While Mr. Larkin acknowledged that, in the non-breach world, Energy Northwest “would
have needed to add some small expansion like a spent fuel rack” to bridge the points in time
between pool overcapacity and the start of DOE acceptance of Plaintiff‟s SNF, the scheduled
acceptance by DOE of the company‟s SNF would otherwise have been sufficient to keep up
production without a storage problem. Tr. 401:10-25 (Larkin).
       The only options for expansion of the capacity of the spent fuel pool were rack
expansion, temporary cask pit racks, or a full re-rack. Mr. Emmert calculated that a rack
expansion would have added storage space for 478 additional fuel assemblies, Tr. 1924:16-19
(Emmert), temporary cask pit racks would have added space for 308 additional assemblies, Tr.
1926:11-14 (Emmert), and that a full re-rack would have added space for 1,392 assemblies. Tr.
1926:23 to 1927:1 (Emmert). He testified, however, that “even a rerack of the Columbia pool
would not have provided sufficient storage capacity to be able to continue to operate the plant
through its life” and would have led to shutdown around 2015. Tr. 1989:5 to 1993:5 (Emmert);
PX 602B.

                                               13
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 14 of 33



        The Government‟s expert witnesses did not dispute that Energy Northwest would
eventually have required an ISFSI for its SNF storage needs. Dr. Raymond S. Hartman,
Defendant‟s expert on economics project evaluation, damages analysis, quantitative economic
analysis, industrial organization, and microeconomics, addressed the “running theme” of two
alternatives that Plaintiff faced in 1999: building an ISFSI without a full re-rack of the fuel pool
versus a full re-rack and then an ISFSI. Tr. 2889:8-12 (Hartman). His analysis acknowledged
that Energy Northwest was going to need an ISFSI with both options. “I‟m looking at getting
them to 2013, having an ISFSI in place in either case.” Tr. 2896:10-12 (Hartman). Mr. Richard
L. Johnson, Defendant‟s expert in the areas of financial analysis, cost accounting, auditing, and
analysis of economic damages, similarly acknowledged that Plaintiff would have needed an
ISFSI even if it had first implemented a full re-rack of its fuel pool. Tr. 2792:10 to 2893:17
(Johnson). Finally, Mr. Charles L. Stuart, Jr., Defendant‟s expert on nuclear plant operations and
management, including plant modifications, outage planning, and handling and storage of new
and spent nuclear fuel, testified that a full re-rack, based on a generous calculation providing
space for up to 1,818 additional assemblies, would still have allowed Energy Northwest only 13
years‟ time before additional storage options were necessary. Tr. 2622:1-13 (Stuart).
       Defendant avers that Plaintiff‟s ISFSI costs were unreasonable because they were
incurred prematurely and were based on cursory analysis. “In 1995, after a cursory evaluation
that was clearly weighted in favor of dry fuel storage, Mr. Larkin recommended that ENW
implement dry fuel storage.” Def.‟s Post-Trial Br. at 22. Given its own experts‟
acknowledgement of Plaintiff‟s eventual need for an ISFSI within the existing life of the plant,
the Government‟s argument, therefore, amounts to a contention that Plaintiff‟s ISFSI costs could,
and should, have been deferred until a date after the implementation of a full re-rack of the fuel
pool and presumably beyond the scope of the period of damages at issue in this trial.
        On the basis of cost efficiency, however, the Court is loath to second-guess Energy
Northwest‟s decision to pursue an ISFSI from the outset when the alternative was to have
incurred the capital expenses of both a full re-rack and a subsequent ISFSI. Mr. Bush testified
that a full re-rack would have added capacity for not more than 1,392 fuel assemblies or “cells.”
Tr. 192:3-18 (Bush). By contrast, Dr. Hartman‟s opinion that a full re-rack, followed in later
years by an ISFSI, was more efficient on a net present value (“NPV”) basis was itself based on
an assumption that a full re-rack would have added 1,818 cells in storage capacity. Tr. 2896:19
to 2898:24 (Hartman). Dr. Hartman also performed his NPV analysis only for the period 2002 to
2013. Mr. Bush explained, however, that the 1,818 figure was based on an incorrect assumption
of the expansion capacity of certain areas of the fuel pool where there are “sloped walls.” Tr.
192:20 to 193:15 (Bush). When, utilizing Dr. Hartman‟s methodology but with the variables
adjusted for the lesser figure of cells to be gained by a full re-rack as well as for a longer time
horizon within which to determine the comparative costs of the two alternatives (re-rack first
versus ISFSI), Mr. Emmert demonstrated that it was less expensive to build the ISFSI on an NPV
basis. Tr. 3090:25 to 3105:4 (Emmert). “The conclusion I reached is that the savings the
company would have experienced by selecting the dry cask only option versus the rerack first
option range in the area of 1.8 million dollars to 6.7 million dollars.” Tr. 3104:19-24 (Emmert).




                                                14
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 15 of 33



       It Was Not Unreasonable to Pursue Dry Storage Instead of a Full Re-Rack.

        The Court finds unpersuasive the Government‟s effort to show that Plaintiff‟s mitigation
in the breach world, via dry cask storage, was unreasonable. The burden of proof to demonstrate
the unreasonableness of Plaintiff‟s mitigation efforts lies with the Government here. As the
Federal Circuit noted in SMUD II, 293 Fed. Appx. at 772, “When mitigating damages from a
breach, a party „must only make those efforts that are fair and reasonable under the
circumstances,‟” id. (citing Home Sav. of Am. v. United States, 399 F.3d 1341, 1353 (Fed. Cir.
2005). The non-breaching party, however, is not obligated to prove that it made the best choice
in mitigation.
                 That the method of mitigation which, in hindsight, appears most
                 reasonable and appropriate was not used should not preclude
                 recovery. Indeed, to rule otherwise would contradict the incentives
                 of the mitigation doctrine altogether.
Id. at 771-72.
        In weighing whether Plaintiff‟s course of action was reasonable, the Court credits
Plaintiff‟s observation that the implementation of an ISFSI has enabled it to continue operating
past the 2005 date when the plant would have to have shut down if Plaintiff had done nothing
(see Systems Fuels, Inc. v. United States, 79 Fed. Cl. 37, 60 (2007) (success of mitigation a
presumptive indicator of reasonableness) as well as the approval it obtained from the NRC for its
Holtec dry cask storage system (see Southern Nuclear Operating Co. v. United States, 77 Fed.
Cl. 396, 427 (2007) and Yankee Atomic Elec. Co. v. United States, 73 Fed. Cl. 249, 285 (2006),
aff’d in part, rev’d in part, 536 F.3d 1268 (Fed. Cir. 2008)). Additionally, Eileen M. Supko,
Plaintiff‟s expert witness on spent fuel storage, transport, and disposal, future SNF discharge
projections, SNF acceptance allocations, and GTCC waste acceptance, testified that there were
11 ISFSIs operating at the time Energy Northwest contracted with Holtec and 230 operational
ISFSIs by 2002. Tr. 1485:23 to 1486:5 (Supko). That this practice was widespread in the
nuclear industry at the time further demonstrates the reasonableness of Plaintiff‟s decision to
proceed with dry storage. Ms. Supko also testified that, by 1999, the cask industry was “very
stable” and had largely resolved quality control and fabrication issues that arose in the mid-
1990s. Tr. 1484:9-18 (Supko).
         As a final and highly persuasive matter, Energy Northwest was legitimately concerned
about the uncertainty of DOE‟s start of performance. This concern over what clearly appeared to
be a status of “indefinite delay” in DOE performance, see JX 73, was a major factor influencing
the decision to pursue dry storage. Tr. 494:11 to 496:4 (Larkin); Tr. 1112:25 to 1113:11
(Parrish). Ms. Supko testified that, based, inter alia, on DOE‟s notices in the Federal Register in
1994 and 1995 projecting that the earliest possible date for SNF acceptance was 2010, nuclear
utilities “were assuming that they would have to provide spent fuel storage for the life of the
plant, because of the uncertainty of the repository schedule.” Tr. 1664:11-14 (Supko). She had
made the same observation in April 1995: “For prudent planning, most utilities assume that they
will have to provide life-of-plant spent fuel storage capacity.” DX 139. The Court finds that
Plaintiff‟s mitigation expenses, specifically the decision to implement dry storage via an ISFSI,
were reasonable under the circumstances in response to DOE‟s breach and to avoid a shut-down
of the Columbia plant through its end-of-license operations in 2026. As the trial court noted in

                                                 15
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 16 of 33



Dominion Res., Inc. v. United States, 84 Fed. Cl. 259, 273 (2008), an ISFSI was reasonable given
that “the Government put plaintiffs in the unexpected position of having to create facilities to
store large quantities of fuel for an indefinite period.”
        Having determined the reasonableness of Plaintiff‟s mitigation costs in the actual, breach
world, the Court must further weigh, as Defendant appropriately notes, “whether ENW would
have incurred its claimed costs even had DOE begun accepting SNF from Columbia.” Def.‟s
Post-Trial Br. at 8-9. The requirement of this inquiry was framed by the Federal Circuit in
Yankee Atomic:
               Without record evidence about the Yankees‟ condition with full
               Government performance, the Court of Federal Claims could not
               perform the necessary comparison between the breach and non-
               breach worlds and thus could not accurately assess the Yankees‟
               damages.
Yankee Atomic, 536 F.3d at 1273; see also Bluebonnet Sav. Bank, F.S.B. v. United States, 339 at
1345 (“To derive the proper amount of the damages award, the cost resulting from the breach
must be reduced by the costs, if any, that the plaintiffs would have experienced absent the
breach.”).
        As instructed by the Federal Circuit, this Court‟s calculation of Energy Northwest‟s
acceptance schedule in the “but for” world is premised on the acceptance rates in the 1987 ACR:
1,200 MTU per year for 1998 through 2002, ramping up to 2,000 MTU per year by 2003, and
then to 2,650 MTU per year from 2004 through 2007. Pac. Gas & Elec. Co., 536 F.3d at 1292;
JX 14. The acceptance rate found in the 1987 ACR, however, is only one component of the ACS
process; the Court must also determine Energy Northwest‟s position in the acceptance queue by
looking at the APR. The 1987 APR is the starting point for this Court, but not the final word, for
this data because, as discussed further below, this Court believes that the 2004 APR is more
appropriate to use because it provides more years of actual, rather than merely projected, data.

        The 1987 APR is found in Tables A.1 through A.10 of JX 14. In the third column of the
chart below, the rate of acceptance is taken from the 1987 ACR.




                                                16
           Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 17 of 33



Chart I
     Year of Program           Year           Annual Acceptance             Cumulative              Columbia
                                                   [ACR]11                  Acceptance             Acceptance
                                               in Metric Tons of         in Metric Tons of       [APR] in Metric
                                                Uranium (MTU)             Uranium (MTU)         Tons of Uranium
                                                                                                     (MTU)12
            1                  1998                  1,200                     1,200                    0
            2                  1999                  1,200                     2,400                    0
            3                  2000                  1,200                     3,600                    0
            4                  2001                  1,200                     4,800                    0
            5                  2002                  1,200                     6,000                    0
            6                  2003                  2,000                     8,000                    0
            7                  2004                  2,650                     10,650                   0
            8                  2005                  2,650                     13,300                 24.237
            9                  2006                  2,650                     15,950                 35.776
           10                  2007                  2,650                     18,600                 30.779
          Totals                                     18,600                    18,600                 90.792

      A review of this chart reveals that in the “but for” world using only the information in the
1987 ACR, DOE would have picked up 90.792 MTU of Energy Northwest‟s SNF by year 2007.

        In the 1987 ACS process, the listing of spent fuel by discharge date, provided in
Appendix B, was based, however, on “discharge information [that] was obtained from the
Purchasers‟ Nuclear Data Form, RW-859, 1985 submittals.” JX 14 (#2768). Therefore, the data
found in this table after 1985 are based on projections, not actual information. In the “but for”
world, by contrast, in performing the Standard Contract, DOE would not have had to rely on
projected post-1985 discharge information; rather, it would have had more years of actual
discharge data. This discharge data can be found in the Acceptance Priority Ranking & Annual
Capacity Report of July 2004. PX 467 (#0020-53). Appendix A of the APR/ACR of July 2004
specifically states:

           In accordance with the Standard Contract for Disposal of Spent Nuclear Fuel
           and/or High-Level Radioactive Waste (10 CFR Part 961) (Standard Contract), an
           Acceptance Priority Ranking (APR) listing has been generated based on
           information as reported to the Department by the Purchasers on the Nuclear Fuel
           Data Survey Form, RW-859. The 2004 APR listing is based on SNF discharges
           through December 31, 2002.

PX 467 (#0019).


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     This acceptance rate is found in Table 2.1 of the June 1987 Annual Capacity Report. JX 14 (#2717).
12
  This APR is found in Table A.1 through A.10 of the June 1987 Annual Capacity Report. It was then cross-
referenced with the listing of spent fuel by date of discharge in Appendix B of the Annual Capacity Report.
Appendix B carried the amount of SNF in MTU to three decimal places; the Court has done the same. JX 14
(#2727-67).

                                                          17
           Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 18 of 33



        The chart below reflects Energy Northwest‟s acceptance schedule using the acceptance
rate found in the 1987 ACR, as required by the Federal Circuit, with an APR that reflects actual
discharge data from 1985 to 2002 that DOE would have relied upon in the “but for” world.

Chart II
 Year of Program          Year                Annual Acceptance         Cumulative             LACBWR
                                              [ACR]13                   Acceptance             Acceptance
                                              in Metric Tons of         in Metric Tons of      [APR] in Metric
                                              Uranium (MTU)             Uranium (MTU)          Tons of
                                                                                               Uranium
                                                                                               (MTU)14
            1                    1998                 1,200                    1,200                   0
            2                    1999                 1,200                    2,400                   0
            3                    2000                 1,200                    3,600                   0
            4                    2001                 1,200                    4,800                   0
            5                    2002                 1,200                    6,000                   0
            6                    2003                 2,000                    8,000                   0
            7                    2004                 2,650                    10,650                  0
            8                    2005                 2,650                    13,300                17.6
            9                    2006                 2,650                    15,950                22.7
           10                    2007                 2,650                    18,600               52.615
          Totals                                      18,600                   18,600                92.9

        A review of this chart reveals that in the “but for” world using the 1987 ACR with the
2004 APR, DOE would have picked up 92.9 MTU of Energy Northwest‟s SNF by year 2007.
The MTU amounts of SNF pick-up are almost the same and would not have made a noticeable
difference in the but-for world, but in consideration of the parties‟ arguments over proof of
causation, the Court finds the 2004 APR the more useful data.

       Plaintiff‟s expert, Mr. Emmert, testified, based on data that also incorporated the 2004
APR data above, that -- with rack expansion only (also referred to as “partner racks”) -- Energy
Northwest would have had no need for dry storage in the non-breach, but-for world if DOE had
performed beginning in 1998:

                    The conclusion I reached was that the company in the nonbreach
                    world, assuming DOE acceptance, could have operated the plant
                    and met its spent fuel capacity needs by the addition of these
                    partner racks, and the additional investment in those partner racks.




13
     This acceptance rate is found in Table 2.1 of the June 1987 Annual Capacity Report. JX 14 (#2717).
14
     This APR is found in Appendix A of the 2004 APR/ACR. PX 467 (#0020-53).
15
  Energy Northwest has two allocations in 2007, one for 27.6 and one for 25.0 for a total acceptance in 2007 of
52.6 MTU.

                                                          18
         Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 19 of 33



Tr. 1961:7-16 (Emmert); PDX 13. Mr. Emmert said his modeling showed that the company
would not have needed to construct a dry storage facility because “the addition of the partner
racks would have been sufficient to meet balance of plant life spent storage needs.” Tr. 1963:14-
20 (Emmert). He explained that the rack expansion in 2005 would have sufficed to bridge a
small gap of space needed for 118 assemblies to continue operations. Tr. 1964:7 to 1965:25
(Emmert).

        Mr. Emmert‟s inventory modeling was based on Ms. Supko‟s calculation of SNF
allocations under the 1987 ACR rates, employing the updated 2004 APR. His model further
showed that a full re-rack in the non-breach world, in lieu of a rack expansion, would have
resulted “in a significant amount of excess capacity in the pool and a waste of capital investment
by the company.” Tr. 1974:4-8 (Emmert). Therefore, in the but-for world the company would
not performed a full re-rack “because it would not have been a prudent investment.” Tr. 1974:9-
15 (Emmert). The foregoing modeling was based on an acceptance rate of 3,000 MTU, the rate
projected in the 1987 Mission Plan Amendment, for the years beyond the ten-year period of the
1987 ACR, as incorporated in Ms. Supko‟s calculations. Tr. 1401:18 to 1404:10 (Supko); JX 13.

       Mr. Emmert also employed, however, a sensitivity analysis performed by Ms. Supko, less
favorable to Energy Northwest than the 1987 Mission Plan projection, modeling the inventory
needs of the company based on a frozen acceptance rate of 2,650 MTU after 2007. Tr. 1974:19
to 1977:13 (Emmert).16 His conclusions were the same regarding the adequacy of rack
expansion to meet the company‟s storage needs and the over-capacity that a full re-rack would
have engendered. Tr. 1976:15 to 1977:25 (Emmert). He further concluded that in none of his
scenarios would Energy Northwest have had to build an ISFSI. Tr. 1978:6-14 (Emmert).

        Defendant takes issue with Plaintiff‟s causation argument in the but-for world in two
additional respects, its failure to account for Greater than Class C radioactive waste (“GTCC”)
and its need to have maintained sufficient storage capacity to account for full core discharge
capability (“FCDC”).

        The Issue of GTCC Waste Does Not Undermine Plaintiff’s Proof of Causation.

        “GTCC waste is one of the radioactive byproducts of nuclear waste generation.” Yankee
Atomic, 536 F.3d at 1277. The court in Yankee Atomic affirmed that GTCC constituted high
level waste (“HLW”) and was thus included in DOE‟s acceptance obligations under the Standard
Contract. It agreed with the trial court that the costs of GTCC storage were potentially
recoverable damages to the same extent of SNF storage expenses. Id. at 1279. In particular, the
court observed, “In addition, as the trial court found, the record shows that the Government
planned to (and would have) removed the GTCC with the SNF.” Id. at 1278. Defendant here
argues that Ms. Supko‟s model “fails because she did not properly account for the acceptance of
GTCC.” Def.‟s Post-Trial Br. at 15. More specifically, the Government explains that if the
allocation queue based on the 1987 ACR were to be adjusted to account for HLW, including

16
   While Mr. Emmert‟s more conservative-rate sensitivity analysis reaffirms his conclusions, this Court concurs
with the conclusion of the trial court in Consolidated Edison v. United States, Nos. 03-2622C, 04-33, slip op. at 2
(Fed. Cl. May 18, 2009), that “„the 1987 ACR process,‟ as defined in Pac. Gas & Elec., incorporates both the 1987
ACR and the 1987 [Mission Plan Amendment („MPA‟)].”

                                                        19
         Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 20 of 33



GTCC, in conformance with the holding in Yankee Atomic, there might then be ripple effects to
the priority listings among all the nuclear utilities. Ms. Supko did not make any such
adjustments in her modeling, calling into question presumably the timetable for first acceptance
from Energy Northwest in particular and the costs it would therefore have incurred even in the
non-breach world to maintain adequate storage capability. The Government, though, did not
introduce evidence of what the allocation queue would have been by virtue of the inclusion of
GTCC.

        The parties dispute the legal requirements of Plaintiff‟s burden of proof in the but-for
world. Energy Northwest argues appropriately that the breaching party ought not to reap the
benefits of uncertainty caused by its breach. “The defendant who has wrongfully broken a
contract should not be permitted to reap advantage from his own wrong by insisting on proof
which by reason of his breach is unobtainable.” Locke v. United States, 283 F.2d 521, 524 (Ct.
Cl. 1960). Plaintiff also notes that “when true facts relating to a disputed issue lie peculiarly
within the knowledge of one party, it is fair to assign the burden of proof to that party.” United
States v. Santee Sioux, 254 F.3d 728, 733 (8th Cir. 2001). Defendant emphasizes, in contrast, the
obligation of Plaintiff “to establish a plausible „but-for‟ world.” Yankee Atomic, 536 F. 3d at
1273.

         The Court must therefore examine the extent to which Plaintiff has demonstrated a
plausible scenario in the but-for world, recognizing, however, that certain limitations engendered
by Defendant‟s breach may indeed render proof of the hypothetical impossible. Ms. Supko
testified that DOE has yet to issue any “detailed acceptance criteria and general specifications”
for its acceptance of HLW, as required under the Standard Contract. Tr. 1671:7-20 (Supko); JX
1. David K. Zabransky, the Acting Director of the Waste Acceptance Division in OCRWM and
the Contracting Officer for the Standard Contract since 2002, testifying for the Government,
confirmed that acceptance criteria for HLW, including GTCC, still has not been issued:

                 Q.   The DOE has not issued any detailed acceptance criteria for
                 GTCC waste, correct?

                 A.     Well, they wouldn‟t. It would issue them for high level
                 waste.

                 Q.      Okay. And, therefore, the Department, you are saying, has
                 not issued any detailed acceptance criteria for GTCC waste,
                 correct?

                 A.      Well, again, the answer to that is no, but as we have
                 explored this a little further, until August [2008],17 and until much
                 later than August, we didn‟t realize or didn‟t even – at this point
                 had still not determined whether GTCC is high level waste as far
                 as the Department is concerned.


17
   It was in August 2008 that the Federal Circuit, in Yankee Atomic, 536 F.3d at 1277, held that GTCC was included
in the definition of HLW.

                                                       20
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 21 of 33



Tr. 2427:1-14 (Zabransky).

        Ms. Supko further testified that the 1987 Mission Plan Amendment, JX 13, lays out
separate waste streams for SNF and HLW, suggesting that the acceptance of GTCC waste would
be performed in a queue distinct from that of its SNF. Tr. 1405:7-23 (Supko). Nor had any ACR
or APR included GTCC or other HLW in the acceptance scheduling. Tr. 1463:21 to 1464:2
(Supko). Upon examination of the canisters of GTCC stored at utility sites available for
acceptance at the time of trial, DOE‟s Sandia National Laboratory estimate of GTCC volume at
existing reactor sites, and its estimate of GTCC waste expected to be generated in the future, Ms.
Supko concluded that DOE acceptance of GTCC waste even concurrently with SNF would not
have had any effect on Energy Northwest‟s allocations for SNF pick-up. Tr. 1481:17 to
1482:16; Tr. 1483:19 to 1484:4 (Supko). “[I]t is such small volume that it really has no impact
on the acceptance, overall acceptance of spent fuel.” Tr. 1483:17-18 (Supko).

        Mr. Zabransky‟s testimony in this regard was much less edifying. He acknowledged that
he had no information whether there would have been any impact on Energy Northwest‟s
acceptance allocations if DOE had begun accepting GTCC waste in 1998. Tr. 2446:3-20
(Zabransky). He could not identify any GTCC waste that would have been ranked for
acceptance prior to Energy Northwest‟s first SNF discharge. Tr. 2447:2-11 (Zabransky). He
also acknowledged that his office at DOE “has not undertaken any study about how GTCC
would have been included in the queue, had performance commenced under the contract in
1998.” Tr. 2420:10-15 (Zabransky). Asked how OCRWM would have managed the acceptance
of GTCC along with SNF in the acceptance queue, he responded,

               A.     You can lay out alternatives and plausible scenarios, but I
                      don‟t know that you can say, anybody can say with
                      definition what would have happened.

Tr. 2421:11-14 (Zabransky).

        The Court does not find that the issue of GTCC acceptance would have changed
Plaintiff‟s need to pursue dry storage.

       Plaintiff Would Not Necessarily Have Provided for FCDC in the But-For World.

        In addition, Defendant argues that Energy Northwest would have purchased temporary
racks “in order to protect against the commercial risk posed by the need to offload the reactor
core when there was insufficient space in the SNF pool.” Def.‟s Post-Trial Br. at 41. Temporary
cask pit racks (in addition to rack expansion) would have been necessary in the but-for world in
order to maintain full core discharge capability (FCDC), which, under the 1987 ACR, Energy
Northwest would otherwise have lost for 11 years, nine of them consecutively. FCDC refers to
the operating practice of retaining sufficient “empty space in the fuel pool to accommodate the
total number of assemblies contained in the reactor core.” Pl.‟s Mem. of Contentions of Fact and
Law at 6. For Energy Northwest, that number is 764 assemblies. Id. Plaintiff avers that, while
maintaining FCDC is “a common industry practice,” it is “not a regulatory requirement.” Id. As
noted supra, Plaintiff‟s expert Mr. Emmert acknowledged that Energy Northwest would have

                                               21
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 22 of 33



pursued a rack expansion (or partner racks) in the non-breach world, for the cost of which it has
diminished its damages claim by $3,271,939. The cask pit racks would have added storage space
for an additional 308 assemblies. The Court, however, has already found reasonable Plaintiff‟s
determination in the breach world to pursue an ISFSI rather than incur the capital expense of
both a full re-rack, which would have added capacity for 1,392 assemblies, as well as that of an
ISFSI. The Government‟s argument, therefore, about maintaining FCDC becomes more of a
claim for an offset in the non-breach world rather than an undercutting of Plaintiff‟s causation
showing, because Plaintiff would still have required an ISFSI in order to maintain operations
through the life of the Columbia plant.

         Lisa Ferek, a senior nuclear engineer at Energy Northwest, testified that not maintaining
FCDC posed an economic risk in that loss of the ability to unload the entire reactor core, in the
event of an emergency or even in a routine need, would lengthen the time of a plant outage and
result therefore in lost revenues from power that would otherwise be generated. Tr. 1282:12-21
(Ferek). Mr. Dale Atkinson, Vice President of Operational Support for Energy Northwest,
testified that the cost of a two-month shutdown of the plant would be on the order of $52 million,
Tr. 1062:23 to 1063:3 (Atkinson), whereas Mr. Emmert testified that the cost of temporary cask
pit racks would have been $714,250. Tr. 2061:11 to 2062:7 (Emmert). Mr. Larkin also noted
that, “[w]hile the probability of an event requiring a full core discharge may be low an extended
delay in being able to offload would have a significant economic penalty.” JX 65. He also
indicated to the NRC that the company‟s desire was to maintain FCDC. JX 63.

      Defendant‟s expert Mr. Stuart characterized the trade-off that confronted Energy
Northwest:

               So you are risking $700,000 versus a million dollars a day if you
               don‟t have something available to yourself [FCDC]. That risk is
               too high.

               I couldn‟t have gone to the Board of Directors with that and I don‟t
               think any utility manager that I know of would be willing to do so
               either.

Tr. 2570:17-24 (Stuart).

        As Defendant summarized the point, Energy Northwest “would not have taken the
economic risk of loss of FCDC in order to save $714,250 by not buying [] temporary racks.”
Def.‟s Post-Trial Br. at 46.

        Plaintiff argues against this offset for three reasons: first, Plaintiff‟s corporate executives
Messrs. Parrish and Atkinson both testified that loss of FCDC would have been acceptable to
them. Tr. 1098:1 to 1100:19 (Parrish); Tr. 998:15-22 (Atkinson). Second, Mr. Atkinson testified
that Energy Northwest has actually operated in the real world without FCDC on two occasions,
from 1999 to 2004 and again from 2007 to 2008. Tr. 998:14-15 (Atkinson). He further testified
that the company determined that operating without FCDC was neither a regulatory violation nor
a safety issue. Tr. 999:6-13 (Atkinson). In both instances, the company made a “business

                                                  22
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 23 of 33



decision” based on the likelihood of a need for full core discharge and the cost of maintaining
FCDC. Id. at 12-13. He stated,

                We concluded, after looking at industry experience and our own
                situation that we considered the need for full core off-load to be
                highly unlikely, and in each case made decisions that we thought
                were the best financial decision for the organization.

Id. at 18-23.

         Third, Mr. Bush testified that the costs of engineering and licensing of cask pit storage
plans are typically incurred prior to any need for cask pit implementation and were in fact
already incurred and incorporated in the costs for the company‟s rack expansion. Tr. 195:13-18
212:18 to 213:5 (Bush); He also testified that it would take only two months to fabricate an
initial cask pit rack and each subsequent rack only about six weeks. Tr. 196:8-14 (Bush).

        Ultimately, the Court is not persuaded by Defendant‟s evidence that Energy Northwest
would necessarily have implemented cask pit storage, in addition to its rack expansion, in order
to maintain FCDC. In particular, Defendant‟s view of Plaintiff‟s likely action in the non-breach
world is belied by the fact that the company actually chose to forego that capability in the real
world. While Plaintiff, in planning documents and testimony, did express that FCDC is in fact
“a preference,” Tr. 996:4-8 (Atkinson), its internal preferences are reasonably subject to change
depending on circumstances and a contrary finding would entail the Court‟s second-guessing of
a business decision in which Energy Northwest demonstrated its own calculus of risk. As the
burden of proof in determining an offset is on the Government here, see Westfed Holdings, Inc.
v. United States, 407 F.3d 1352, 1370 (Fed. Cir. 2005) (“If the government wanted an offset, it
was the government‟s burden to prove . . . .”); Dominion Res., Inc. v. United States, 84 Fed. Cl.
259, 270-71 (2008), the Court will not reduce Plaintiff‟s damages by the cost of fabrication of
the cask pit racks.

       Defendant’s Proposed Offsets Are Deferred, but Not Avoided, Costs.

         Other offsets proposed by Defendant are for certain plant and site modifications and
activities to support the loading and transport of a large rail cask, cask loading costs, and
overhead.

         The plant and site modifications and activities, the costs of which Defendant argues
Energy Northwest would have incurred even in the but-for world, include the analysis and
implementation of a seismic mitigation device in the cask wash down area, the fabrication and
installation of seismic restraints in the cask loading pit, removal and rework of the cask wash
down pit grating and modification of the cask wash down pit drain and piping, haul path and
transfer pad from the reactor building to an on-site railroad line, preparation or modification of
procedures for cask loading, and an underwater camera. These items are based on Defendant‟s
effort to identify a cask that would have been utilized for transfer at the utility‟s site of SNF to
DOE pursuant to the Standard Contract. Mr. Stuart testified that he identified “what a cask
would look like and what the activities would look like” in the but-for world. Tr. 2576:3 to

                                                 23
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 24 of 33



2578:10 (Stuart). His conclusion was based on a review and analysis of actual SNF casks for
boiling water reactors licensed during the period from 1998 to 2006, NRC regulations on cask
design, site conditions specific to the Columbia plant, and site-specific management preferences.
Tr. 2574:6 to 2585:10 (Stuart). In ascertaining the limited parameters of such a cask, he was able
to identify costs that he concluded Plaintiff would have incurred in the non-breach world to
facilitate the delivery of its SNF to DOE. Def.‟s Post-Trial Br. at 49. According to the
Government, Plaintiff avoided these costs in the breach world and they therefore should be
deducted from any recovery of damages.

        Plaintiff argues that the Government‟s proposed offsets are only deferred, not avoided,
costs and warrant no deduction. As the Federal Circuit held in Carolina Power & Light Co. v.
United States, 573 F.3d 1271, 1277 (Fed. Cir. 2009), “This court rejects the argument that
[plaintiff] has avoided the costs of loading casks such that the government should benefit from
an offset in the damages award. Plaintiffs have not avoided the costs of loading. Rather, they
have merely deferred these costs.” Id.

         In addition, Plaintiff contends, the Government‟s proposed offsets are inappropriate
because they are based on improper speculation. Mr. Stuart acknowledged that “the specific
cask or casks the DOE would have used at any specific utility site cannot be positively
identified,” Tr. 2648:18 to 2649:8 (Stuart), but that he first identified casks that could be used as
a “proxy” in the non-breach world and then determined the activities needed to be undertaken to
use the proxy casks. Id. He reached his opinion based on the characteristics, including shape,
height, diameter, and weight, of seven proxy casks. Tr. 2657:3 to 2663:18 (Stuart). Mr. Bush
testified for Plaintiff, however, that there was a 90% likelihood that Energy Northwest would
need additional or different modifications to accommodate the eventual DOE-confirmed cask.
Tr. 322:13-23 (Bush). He also opined that Mr. Stuart did not consider a number of “parameters”
that would be integral to any consideration of “potential activities or modifications in
implementing a cask system at the site.” Tr. 226:6 to 227:3 (Stuart). With respect to
Defendant‟s proposed offset of the cost of an underwater camera, Defendant provided no
evidence that the camera was in fact utilized for any purpose other than that related to the ISFSI.
Tr. 2608:20 to 2609:4 (Stuart). Accordingly, the Court finds that Defendant has not met its
burden of proof with respect to these offsets, that the costs it seeks to offset are cask-specific,
and that as such it is improperly speculative to conclude that Energy Northwest will not incur
these costs once the authorized DOE cask is identified and DOE performs under the Standard
Contract.

       Plaintiff Is Entitled to Recover for Overhead.

        The Government additionally argues against any recovery by Plaintiff for overhead.
“The overhead costs were fixed costs that were not incremental to DOE‟s delayed performance
and are not recoverable as damages.” Def.‟s Post-Trial Br. at 64. By “incremental,” the
Government explains that Energy Northwest “neither added personnel nor incurred additional
costs related to these overhead functions as a result of DOE‟s delay and the ISFSI project.” Id.
Testifying for Plaintiff, Mr. Johnathan Hicks, corporate financial performance supervisor for
Energy Northwest, explained that the company charges corporate administrative costs, divided
into the categories of management overhead, administrative and general costs, information

                                                 24
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 25 of 33



services cost, benefits, and resource development, to projects based on labor, measured by time,
that is spent on that project. Tr. 1728:7 to 1729:4 (Hicks). He described this methodology as
appropriate under generally accepted accounting principles. Id. This Court concludes that
Defendant‟s argument regarding fixed costs and lack of “incrementality” were raised and
resolved against the Government in the decision of the Federal Circuit in SMUD II. There, the
court held that the plaintiff utility was entitled to recover “internal labor costs incurred as part of
its mitigation effort” “so long as it establishes that the claimed expenses were caused by the
breach.” SMUD II, 293 Fed. Appx. at 772-73. There was implicitly no requirement that the
injured plaintiff had to prove that its internal resources costs had increased as a consequence of
the Government‟s breach. That such internal resources were “spent” in mitigation activities
because of the breach was sufficient for recovery. Id. at 773. Plaintiff demonstrated its overhead
costs were caused by the Government‟s breach and this Court holds that it is entitled to recover
therefore.
        Defendant’s Reimbursement Defense Relating to the Bonneville Power Administration is
        Unconvincing.
         Defendant urges the court to deny Plaintiff‟s claim in its entirety because, by virtue of an
unspecified payment by the Bonneville Power Administration (“BPA”) to Energy Northwest for
a part of Plaintiff‟s increased costs for dry storage, see Tr. 2176:13 to 2178:13 (Parrish), Plaintiff
has failed to establish its damages with reasonable certainty. Defendant raised this matter for the
first time in its post-trial brief. BPA is a DOE entity that manages the distribution of electricity
from hydroelectric projects along the Columbia River. Tr. 1094:14-22 (Parrish). It is not funded
by United States taxpayers. 16 U.S.C. § 839d(j). Plaintiff did not reduce its claim to account for
costs “already reimbursed” by BPA and the failure to account for reimbursement by another
entity constitutes “a failure of proof.” Def.‟s Post-Trial Br. at 11.
         Defendant‟s own failure, however, to plead the BPA payment in its answer or indeed at
any time prior to trial, or even specifically at trial, waives reimbursement as an affirmative
defense, according to Plaintiff. Rule 8(c)(1) of the Rules of the Court of Federal Claims requires
that, in responding to a pleading, a party must affirmatively state any avoidance or affirmative
defense, including “payment.” The issue of any BPA payment is not a part of Plaintiff‟s prima
facie case and thus constitutes an affirmative defense. Because the matter has been raised so late
in the course of this litigation, it forecloses any testimony that Plaintiff could have elicited at trial
and therefore has the effect of an unfair surprise, see Hassan v. U.S. Postal Service, 842 F.2d
260, 263 (11th Cir. 1988). This Court holds the issue waived.
         Additionally, as an affirmative defense, however, the issue of the BPA payment becomes
one in which the Defendant would bear the burden of proof. See Siverson v. United States, 710
F.2d 557, 560 (9th Cir. 1983). The Court finds that its proof is lacking, for inter alia it failed at
trial to show what amount, if any, should be reduced from Plaintiff‟s damages.
        Furthermore, as Plaintiff explains in its reply, BPA was not acting as a third-party payor
or indemnitor of Energy Northwest‟s dry storage costs. Rather, BPA is merely an “aggregator”
in a system in which the relationship between Energy Northwest and its utility “Participants” on
a given project is governed by three-party Net Billing Agreements. Tr. 1097:20-25 (Parrish); PX
5. The participant utilities of the Columbia generating station pay proportionate shares of its
operating costs. Tr. 1095:5-21 (Parrish). Their share of the power generated at the Columbia

                                                   25
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 26 of 33



plant is assigned to BPA and blended with power from federal sources such as hydroelectric
energy. Tr. 1096:2-16 (Parrish). They purchase electricity from BPA, but they receive credit
from BPA for the payments they have made to Columbia for their share of its operating costs.
Id. To the extent Plaintiff receives any recovery in this litigation, such recovery diminishes the
operating costs of the Columbia station and would be reflected in the net billing statements
issued to the participants. PX 5. In addition, a Project Agreement between BPA and Energy
Northwest provides that the Columbia annual budget will take account of any “cumulative
difference between income and expenditures for the prior contract year.” PX 458. The
relationship among the three entities -- Energy Northwest, BPA, and the Columbia participants –
suggests, therefore, that the participants are the only “reimbursing” third party and as such there
would be no windfall or double-payment accruing to Plaintiff. The utility participants, or their
ratepayers, ultimately pay all of Columbia‟s costs, including the costs at issue here. The question
of any recoupment of costs from, or reconciliation with, Energy Northwest‟s customers does not
impair Energy Northwest‟s ability to recover from the Government. See Hughes Commc’ns
Galaxy, Inc. v. United States, 271 F.3d 1060, 1072 (Fed. Cir. 2001) (reduction of damages by
amount plaintiff recouped from customers too remote to consider). The Court finds that Plaintiff
has made its claim for damages with reasonable certainty, notwithstanding Defendant‟s last-
minute claim regarding BPA.
       Plaintiff May Recover for Cost of Capital to Finance the Dry Cask Storage Project.

       The final element of Plaintiff‟s claim is for $6,068,909 in damages for the expense it
incurred in financing the dry cask storage project.
        At trial, Mr. Greg Armatrout, Plaintiff‟s Manager of Finance, testified that Energy
Northwest, pursuant to a formal resolution of its executive board, determined to finance a
significant portion of the costs of its SNF dry-storage project as a capital project via long-term
debt financing. Tr. 1820:5-16 (Armatrout). Initially, in May 2002 it took a $34,518,000 advance
against a promissory note to Citibank. Tr. 1828:12-15, 1830:9-19 (Armatrout). The funds from
the promissory note were drawn specifically for ISFSI expenses and permitted Plaintiff time to
arrange for the issuance of tax-exempt revenue bonds. Pl.‟s Resp. in Opp‟n to Def.‟s Mot. in
Limine to Strike Pl.‟s Claim for Interest at 3, June 30, 2008; Tr. 1833:12 to 1839:40 (Armatrout).
In May 2003, Plaintiff raised $46,071,329 from the sale of 2003-F series bonds. Tr. 1836:12-14
(Armatrout). From the proceeds of the bond sale, Energy Northwest repaid the advance pursuant
to the promissory note, paid dry cask storage capital costs incurred in 2003, and paid a pro-rata
share of the expenses of the bond issuance. Pl.‟s Post-Trial Br. at 73. The balance of
approximately $10 million was used for other capital projects not related to the ISFSI. Tr.
1840:1-7 (Armatrout). Plaintiff‟s claim consists of $941,379.98 in financing charges on the
promissory note advance and, through June 30, 2006, $5,127,529.17 in financing costs on the
ISFSI portion of the bonds, for a total of $6,068,909. Pl.‟s Resp. in Opp‟n to Def.‟s Mot. in
Limine to Strike Pl.‟s Claim for Interest at 3-4; Pl.‟s Post-Trial Br. at 72-73.
        Plaintiff avers that its costs in this regard would not have been incurred but for the
Government‟s partial breach (“actual out-of-pocket damages directly traceable to the mitigation
efforts EN was required to undertake”), were reasonably foreseeable at the time of contracting,
and are valid expectation damages. Pl.‟s Mem. of Contentions of Fact and Law at 49.



                                                26
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 27 of 33



        The question, as Defendant aptly notes however, is whether such financing costs are the
equivalent of interest on a claim and thus not recoverable as a matter of law. As interest on a
claim, Plaintiff‟s recovery would be barred by operation of the “no interest” rule of 28 U.S.C. §
2516(a), which provides:
               Interest on a claim against the United States shall be allowed in a
               judgment of the United States Court of Federal Claims only under
               a contract or Act of Congress expressly providing for payment
               thereof.
Defendant further notes that neither the NWPA nor the Standard Contract contains any
provision, express or otherwise, that provides for such interest or that waives, modifies, changes,
or nullifies the prohibition found in Section 2516(a).
        The distinction, according to Plaintiff, is the recovery of interest “as a claim,” rather than
“on a claim.” Pl.‟s Response in Opposition to Def.‟s Motion in Limine to Strike Pl.‟s Claim for
Interest, June 30, 2008, at 9.
        Several SNF decisions in this court have grappled with this issue. See, e.g., Wis. Elec.
Power Co. v. United States, __ Fed. Cl. __, No. 00-697 C, 2009 WL 5178375, (Fed. Cl., Dec. 19,
2009); Consumers Energy Co. v. United States, 84 Fed. Cl. 670, 674 (2008); Dominion Res., Inc.
v. United States, 84 Fed. Cl. 259, 285 (2008); Carolina Power & Light Co. v. United States, 82
Fed. Cl. 23, 53 (2008); Sys. Fuels, Inc. v. United States, 79 Fed. Cl. 37, 69 (2007); N. States
Power Co., 78 Fed. Cl. 449, 471-72 (2007). In none of these cases, however, has the claim for
recovery of the cost of financing been so directly traceable to the borrowing for the capital
expenditure, in this case, dry storage for SNF in mitigation of the Government‟s breach. As
such, on the facts herein, the issue is squarely joined.
       The no-interest rule itself is of vintage duration. As the United States Court of Claims,
predecessor to this court, held more than a century ago,
               The delay forced the contractor to borrow money to carry on his
               contract; for this he was forced to pay interest, an extra expense.
               The recovery of this sum in this court is forbidden by statute:
               whether it is claimed in the guise of a damage caused by delay, or
               in some other form, it remains in fact a claim for interest and such
               a claim we are prohibited from allowing.
Myerle v. United States, 33 Ct. Cl. 1, 17 (1897).
       In Library of Congress v. Shaw, 478 U.S. 310, 315-16 (1986), the Supreme Court
recounted the history of the no-interest rule as a corollary of the basic rule of sovereign
immunity.
               This basic rule of sovereign immunity, in conjunction with the
               requirement of an agreement to pay interest, gave rise to the rule
               that interest cannot be recovered unless the award of interest was
               affirmatively and separately contemplated by Congress.


                                                  27
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 28 of 33



Id.
        The Court noted that the purpose of the rule is intended to give the Government a favored
position, protecting it from claims for interest that would otherwise apply between private
parties. Id. Indeed, the statutory recitation of the Government‟s immunity from awards of
interest in the act creating the United States Court of Claims (manifested currently by 28 U.S.C.
§ 2516(a)) was but a codification of the traditional rule. Id. at 317. The Court further
countenanced against evading the rule “by devising a new name for an old institution,” citing the
United States Court of Claims in United States v. Mescalero Apache Tribe, 518 F.2d 1309, 1322
(Ct. Cl. 1975), cert. denied, 425 U.S. 911 (1976):
               [T]he character or nature of “interest” cannot be changed by
               calling it “damages,” “loss,” “earned increment,” “just
               compensation,” “discount,” “offset,” or “penalty,” or any other
               term, because it is still interest and the no-interest rule applies to it.
        Defendant here argues that Energy Northwest‟s “financing” claim is nothing more than a
disguised claim for interest. In support, it recites for example Plaintiff‟s description of the
annual “interest” paid on the note and the bond, the “interest rate” for the note and bond, and the
monthly “interest payment dates and amounts” for the promissory bond. Def.‟s Post-Trial Br. at
69; Tr. 1855:17 to 1858:7 (Armatrout). Accordingly, because, as an aspect of sovereign
immunity, the no-interest rule is “construed to apply broadly to claims for interest,” England v.
Contel Advanced Systems, Inc., 384 F.3d 1372, 1379 (Fed. Cir. 2004), Plaintiff‟s claim is barred
by Section 2516(a) and must fail. England, the Government argues, makes clear that Plaintiff‟s
distinction between interest as an independent claim and interest “on” a claim is artificial and
ineffectual.
        In England, the plaintiff (“CASI”) sought to recover interest on money borrowed to
finance its performance of a contract to design, install, and maintain a telecommunication system
for the Navy. The implementation phase of the contract was awarded to CASI on a lease to
ownership (LTO) basis, incorporating an interest component to compensate for payment over a
60-month period. Because the quantity of certain pieces of equipment was uncertain initially,
offerors submitted unit prices. The contract price was based in part on the estimated number of
units. The overall contract price was to be adjusted once the necessary units were installed. At
the time of system acceptance, the number of units installed was fewer than originally
contemplated but the Navy did not adjust the contract price until several years later. The
contractor had obtained a third-party loan against which it assigned the Navy‟s installment
payments, although the contractor‟s method of financing was not dictated by the Navy. Because
of the Government was found at fault for the delay in the readjustment of the contract price, the
plaintiff incurred a financing charge greater than would otherwise have been required.
       The Federal Circuit found that plaintiff‟s claim was contrary to the no-interest rule. “In
other words, CASI is seeking to recover the interest it paid on the extra money it was forced to
borrow as a result of the Navy‟s delay in reconciling the LTO price.” England, 384 F.3d at
1379. Tellingly for Defendant in the case before the court here, the court in England noted,
               The rule has been held not only to bar the recovery of interest on
               substantive claims against the government . . . but also interest

                                                  28
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 29 of 33



               costs incurred on money borrowed as a result of the government‟s
               breach or delay in payment.
Id. (citing, e.g., J.D. Hedin Constr. Co. v. United States, 456 F.2d 1315, 1330 (Ct. Cl. 1972)).
The Government points to Hedin as even more explicit regarding Plaintiff‟s effort to evade the
stricture of the no-interest rule. “Interest paid on bank loans made because of financial
stringency resulting from a breach by the Government of a contract between it and the borrower
is not recoverable as an item of damages.” Hedin, 456 F.2d at 1330.
        While it would then appear that England and Hedin conclusively close the door on
Plaintiff‟s claim for cost of financing, there is additional precedent from the Federal Circuit upon
which Plaintiff relies that suggests an exception to the general rule. In Wickham Contracting Co.
v. Fischer, 12 F.3d 1574 (Fed. Cir. 1994), the construction company had entered into a
construction contract (the “Albany project”) with the General Services Administration (GSA) for
the renovation of a federal post office and courthouse. Due to GSA-imposed delays, the work
was not completed for some 900 days after the contracted date. Most of the contractor‟s claims
for additional costs were settled, but the contractor sought additional costs for certain unabsorbed
home office overhead and for the cost of both equity capital and borrowed funds during the
delay. The court rejected the contractor‟s claim for interest on equity capital, but noted that
“[a]lthough interest on equity capital is not recoverable, a contractor may recover interest
actually paid on funds borrowed because of the government‟s delay in payments and used on the
delayed contract.” Id. at 1582 (citing Gevyn Constr. Co. v. United States, 827 F.2d 752, 754
(Fed. Cir. 1987). In Gevyn, the court had held, “[28 U.S.C. §] 2516(a) does not bar an interest
award as part of an equitable adjustment under a fixed-price contract if the contractor has
actually paid interest because of the government‟s delay in payment.” Gevyn, 827 F.2d at 754.
Nevertheless, the Wickham court affirmed the denial of the plaintiff‟s claim because it failed to
show that borrowed funds were used in connection with the Albany project or that the borrowing
resulted from the delay. “Wickham did not show that the amount sought based on the borrowed
funds was incurred in connection with the Albany project . . . .” Wickham, 12 F.3d at 1583.
        In Gevyn, the contractor had a fixed-price construction contract for the rehabilitation of a
veterans hospital. In the course of an equitable adjustment for expenses due to government-
caused contract changes and delays, plaintiff sought to recover the cost of financing, both
imputed interest based on equity capital and interest on borrowings. The court denied plaintiff‟s
claim for the cost of its equity capital, but recited case law allowing recovery for interest
“actually paid,” i.e., borrowed funds, because of the government‟s delay. Gevyn, 827 F.2d at
754. The Gevyn court specified the two circumstances, neither of which plaintiff met, which
would allow the recovery of interest on bank borrowings: “the changed work either must be
directly traced to a specific loan or a necessity for increased borrowing must be shown to have
been required by extra work or delay caused by the government.” Id.
        Gevyn and the cases it principally relied on suggest that the rationale for the distinction
allowing recovery for interest on borrowings as distinct from interest on equity capital is that the
former can be clearly ascertained: Dravo v. United States, 594 F.2d 842, 847 (Ct. Cl. 1979)
(“direct tracing to a specific loan or necessity for increased borrowing is still required to be
proven in order for a contractor to recover for interest costs under an equitable adjustment
theory.”); Framlau Corp. v. United States, 568 F.2d 687, 695 (Ct. Cl. 1977) (“[T]he distinction is
supported by reason in that the costs to the contractor of borrowing capital is clearly
                                                 29
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 30 of 33



determinable . . .”); and Singer Co. v. United States, 568 F.2d 695, 718 (Ct. Cl. 1977) (interest
“recoverable as part of an equitable adjustment where the proof shows it to be a cost incurred in
connection with monies required to be borrowed in order to finance a change in the contract,”
such as “a specific loan undertaken “ or, in a course of borrowing, “apart from the normal
borrowing pattern, there was a necessity to borrow specifically due to the change in question.”).
        Defendant here argues that Wickham, Gevyn, and the Court of Claims cases cited as
precedent are only applicable to the particular circumstances wherein a “Changes” clause
authorizes a recovery. In support of this narrow interpretation of Wickham, etc., Defendant cites
Bell v. United States, 404 F.2d 975 (Ct. Cl. 1968),
               The statute [28 U.S.C. §2516(a)] and its policy apply to demands
               for damages in “breach” claims against the United States where the
               plaintiff seeks compensation for delay in payment. The demand
               here is not based upon a “breach” but upon a change compensable
               under the “Changes” article which entitles the contractor to
               reimbursement for the resulting “increase . . . in the cost of
               performance of this contract.” Extra interest on the borrowed
               money became due from [the contractor] because of the slowdown,
               and under generally accepted principles was undoubtedly an
               increased cost of contract performance attributable to the change.
Id., 404 F.2d at 984. Bell thus allowed recovery of interest costs on borrowed money under a
Changes clause as being comparable to the “more tangible costs of construction,” but barred a
recovery of interest both where it would simply be compensation for the Government‟s delay in
making payments or, in a breach case, where the claimants “had to borrow money because the
Government did not timely pay them sums due and owning.” Id.
        It has not been tested at the Federal Circuit, therefore, whether the recoverability of
interest on borrowed funds, as stated in Wickham, requires the provision of a Changes clause.
See Wis. Elec., 2009 WL 5178375 at *80. In other contexts, however, “increased financing
costs” have been awarded. Bluebonnet Sav. Bank v. United States, 266 F.3d at 1357.
        In denying Defendant‟s Motion in Limine to Strike Plaintiff‟s Claim for Interest, this
Court has already noted that there are exceptions to an absolute prohibition on an award of
interest. Dkt. No. 178 at 4. In Consumers Energy Co. v. United States, 84 Fed. Cl. 670, 674
(2008), moreover, this Court held that “[t]o recover under Wickham Const. Co. v. Fischer, there
must be some showing that the funds borrowed were used in connection with the type of
mitigation.” Id. The determination of Energy Northwest‟s claim for the cost of financing thus
keys on whether the exception to the rule as enunciated in Wickham necessarily requires the
existence of a Changes clause. See, e.g., Consumers Energy, 84 Fed. Cl. at 674. If it does, then
Plaintiff‟s claim must be denied, as there is no Changes clause applicable to the Standard
Contract. If a Changes clause is not required, the inquiry becomes one of reconciling the
decisions of the Federal Circuit in Wickham and in England.
        Contrary to Defendant‟s reading, the Wickham decision itself does not categorically bar a
recovery for interest on borrowings in the absence of a Changes clause. In the course of drawing
a distinction between claims for interest on equity capital and interest on borrowed funds, the

                                                30
        Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 31 of 33



Wickham court enunciated what may be considered either an exception to the general no-interest
rule or a circumstance in which the general rule does not apply (the distinction is not critical). In
tracking the precedent upon which Wickham relied, this Court is struck not so much by the
references in Gevyn, Dravo, Framlau, and Singer to Changes clauses and equitable adjustments
per se as to the significance of a requirement of traceability. In Dravo, for example, the Court of
Claims recited approvingly the reasoning of the Army Corps of Engineers Board of Contract
Appeals (the Board):
                [I]t was required by current law to show a direct correlation or
                tracing of the interest costs incurred as a result of specific
                borrowing to meet the increased financial needs of the changed
                work. In other words, the Board concluded that there would have
                to be either a direct loan taken out by the contractor to finance the
                changed work or the necessity to increase existing borrowing
                arrangements to finance the changed work shown.
Dravo, 594 F.2d at 845.
         Similarly, in Singer, the court emphasized that the plaintiff had failed to offer “specific
and detailed evidence showing in positive fashion that, as a consequence of the Government‟s
action, the corporation‟s short term borrowing needs were increased.” The court then observed,
“Had we such information in this case, the result would obviously be different.” Singer, 568
F.2d at 720. The Court thus finds that the exception to the no-interest rule enunciated in
Wickham is not limited to interest claims based on a Changes clause and is therefore applicable
to Plaintiff‟s claim here.
         The decision of the Federal Circuit in England, issued in 2004, made no reference to the
1994 decision in Wickham. The primary focus of the inquiry in England was whether the Navy
had waived the no-interest rule, pursuant to Section 2516(a), by statute or contract. Plaintiff here
has not made a claim for any such waiver and so that aspect of England is not pertinent to this
analysis. What is pertinent and must be reconciled with the exception noted in Wickham is the
observation in England that the no-interest rule not only bars the recovery of interest on
substantive claims “but also interest costs incurred on money borrowed as a result of the
government‟s breach or delay in payment.” England, 384 F.3d at 1379. On this point, the
England court cited as authority Hedin, Komatsu Mfg. Co. v. United States, 131 F. Supp. 949,
950 (Ct. Cl. 1955), Ramsey v. United States, 101 F. Supp. 353, 356-57 (Ct. Cl. 1951), and
Myerle. In Komatsu, Ramsey, and Myerle, it was precisely the Government‟s delay in making
required payments that was the breach and which led to the borrowings which engendered
interest costs to the contractors. In Hedin, the breach of contract was a wrongful termination,
which led to the contractor‟s need to execute a bank note, and incur extra interest costs, in order
to fulfill certain obligations to its surety on the payment and performance bonds. In England, the
breach was the failure of the Navy to reconcile the LTO price no later than system acceptance,
but CASI had already financed the original, full contract price from a third-party lender in order
to obtain the Navy‟s consent to make installment payments directly to that lender.
         In all of these cases, the interest costs that the plaintiffs incurred, and which were held not
recoverable in light of the no-interest rule, were the costs of borrowings incurred in order to
fulfill their obligations under their contracts. As the court in Myerle explained, “As to the

                                                  31
       Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 32 of 33



interest on borrowed money: The delay forced the contractor to borrow money to carry on his
contract.” Myerle, 33 Ct. Cl. at 17 (emphasis added). In Komatsu, the court noted, “Because of
the delay in payment it was necessary for the plaintiffs to borrow money in order to continue
their operations for the defendant.” Komatsu, 131 F. Supp. at 950 (emphasis added).
        In the instant case, however, Plaintiff‟s claim for recovery of interest on the Citibank
promissory note and the 2003-F series bonds were not costs incurred “to carry on [its] contract”
with the Department of Energy under the Standard Contract. They were, rather, costs incurred
clearly “in connection with” its legal obligation to mitigate damages in light of the Government‟s
impending breach regarding the 1998 start of SNF acceptance. See Indiana Mich. Power Co. v.
United States, 422 F.3d at 1375. Even Defendant‟s expert witness for financial analysis and cost
accounting, Richard L. Johnson, testified that, if Plaintiff‟s ISFSI expenditures are found to be
incremental to Defendant‟s breach, as the Court so finds here, the financing costs of the ISFSI
expenditures “directly traceable” to it would be incremental as well. Tr. 2830:12 to 2831:20
(Johnson).
        This Court finds therefore, in the interplay of the Federal Circuit‟s decisions in England
and Wickham, that interest claims on borrowings directly traceable to the Government‟s breach,
incurred not simply as a result of a delay in payments due from the Government or to “carry on”
its end of the contract, are outside the reach of the no-interest rule, as embodied in 28 U.S.C. §
2516(a). Within these parameters, interest as an independent claim is recoverable and is distinct
from the interest on a claim, which is prohibited unless waived by statute or contract. See Centex
Corp. v. United States, 55 Fed. Cl. 381, 390 (2003).
         In addition to its argument on the reach of the no-interest rule, Defendant further argues
that, to the extent the Court considers the possibility that interest as a claim may be recoverable,
Plaintiff has nevertheless failed to demonstrate that its ISFSI-related borrowing costs were
reasonably foreseeable. Defendant maintains, citing Centex, that, to establish foreseeability,
Plaintiff must show direct proof that the need for borrowed funds in the event of a breach was
actually discussed by the parties. Id. Defendant proposes much too specific a measure of proof.
Just as the Court has found, supra, that Energy Northwest‟s expenses for dry cask storage were a
foreseeable consequence of Defendant‟s failure to begin acceptance in 1998, its cost of capital
expense in financing such a large capital investment as the ISFSI was also foreseeable as a
corollary. As Mr. Armatrout testified, it was more practical to spread out the large capital cost of
dry storage over the useful life of the project, rather than focus its costs upon ratepayers in the
particular operating years. Tr. 1820:17 to 1821:18; 1875:16-25 (Armatrout). As Plaintiff argues
in response to Defendant‟s Centex argument, such a discussion among the parties at the time of
contract formation would be but one way to demonstrate foreseeability, but not the only method.
        The Court holds that Plaintiff is entitled to recover $6,068,909 as an independent claim
for the cost of financing the dry storage of its SNF.




                                                32
         Case 1:04-cv-00010-EJD Document 254 Filed 02/26/10 Page 33 of 33



   IV.     Conclusion

      For the reasons stated above, the Court awards damages to Plaintiff in the amount of
$56,859,345. The Clerk is directed to enter judgment for Plaintiff in this amount. Pursuant to
RCFC 54(d), costs are awarded to Plaintiff.

                                                    s/ Edward J. Damich___
                                                    EDWARD J. DAMICH
                                                    Judge




                                               33
